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                        Exhibit 1




Document1
Case 2:18-cv-02290-SHL-cgc Document 1-2 Filed 04/30/18 Page 2 of 70                                               PageID 14

                                                                             Service of Process
                                                                             Transmittal
                                                                             04/09/2018
                                                                             CT Log Number 533117183
   TO:     Carol Purcell
           Endo Pharmaceuticals Inc.
           1400 Atwater Dr
           Malvern, PA 19355-8701

   RE:     Process Served in Delaware

   FOR:    Endo Health Solutions Inc.  (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                    Roxie Whitley, Individually and as next friend of Baby Z.B.D., et al.,
                                       Pltfs. vs. PURDUE PHARMA L.P., et al., Dfts. // To: Endo Health Solutions Inc.
   DOCUMENT(S) SERVED:                 Civil Summons, First Amended Complaint
   COURT/AGENCY:                       Fayette County Circuit Court, TN
                                       Case # 24CC12018CV14
   NATURE OF ACTION:                   Deceptive marketing practices relating to prescription opioids
   ON WHOM PROCESS WAS SERVED:         The Corporation Trust Company, Wilmington, DE
   DATE AND HOUR OF SERVICE:           By Certified Mail on 04/09/2018 postmarked on 04/04/2018
   JURISDICTION SERVED :               Delaware
   APPEARANCE OR ANSWER DUE:           within 30 days from the date this summons is served upon you
   ATTORNEY(S) / SENDER(S):            MeLisa J. Williams
                                       16980 Hwy 64, Suite A
                                       P.O. Box 515
                                       Somerville, TN 38068
                                       801-465-2622
   ACTION ITEMS:                       CT has retained the current log, Retain Date: 04/10/2018, Expected Purge Date:
                                       04/15/2018

                                       Image SOP

                                       Email Notification,  Jobina Jones-McDonnell  jones.jobina@endo.com

                                       Email Notification,  Helen Howlett  howlett.helen@endo.com
                                       Email Notification,  Marian Gustafson  marian.gustafson@parpharm.com

                                       Email Notification,  Carolyn Hazard  hazard.carrie@endo.com

                                       Email Notification,  Par Notice Dept  Par.noticeDept@parpharm.com

                                       Email Notification,  Carol Purcell  Purcell.Carol@endo.com

                                       Email Notification,  Stephanie Stidham  stidham.stephanie@endo.com




                                                                             Page 1 of  2 / MC
                                                                             Information displayed on this transmittal is for CT
                                                                             Corporation's record keeping purposes only and is provided to
                                                                             the recipient for quick reference. This information does not
                                                                             constitute a legal opinion as to the nature of action, the
                                                                             amount of damages, the answer date, or any information
                                                                             contained in the documents themselves. Recipient is
                                                                             responsible for interpreting said documents and for taking
                                                                             appropriate action. Signatures on certified mail receipts
                                                                             confirm receipt of package only, not contents.
Case 2:18-cv-02290-SHL-cgc Document 1-2 Filed 04/30/18 Page 3 of 70                                          PageID 15

                                                                        Service of Process
                                                                        Transmittal
                                                                        04/09/2018
                                                                        CT Log Number 533117183
   TO:    Carol Purcell
          Endo Pharmaceuticals Inc.
          1400 Atwater Dr
          Malvern, PA 19355-8701

   RE:    Process Served in Delaware

   FOR:   Endo Health Solutions Inc.  (Domestic State: DE)




   SIGNED:                            The Corporation Trust Company
   ADDRESS:                           1209 N Orange St
                                      Wilmington, DE 19801-1120
   TELEPHONE:                         302-658-7581
    
   DOCKET HISTORY:

          DOCUMENT(S) SERVED:         DATE AND HOUR OF SERVICE:         TO:                                 CT LOG NUMBER:

          Summons, Complaint          By Certified Mail on 04/06/2018   Carol Purcell                       533108372
                                      postmarked on 03/29/2018          Endo Pharmaceuticals Inc.




                                                                        Page 2 of  2 / MC
                                                                        Information displayed on this transmittal is for CT
                                                                        Corporation's record keeping purposes only and is provided to
                                                                        the recipient for quick reference. This information does not
                                                                        constitute a legal opinion as to the nature of action, the
                                                                        amount of damages, the answer date, or any information
                                                                        contained in the documents themselves. Recipient is
                                                                        responsible for interpreting said documents and for taking
                                                                        appropriate action. Signatures on certified mail receipts
                                                                        confirm receipt of package only, not contents.
                       Case 2:18-cv-02290-SHL-cgc Document 1-2 Filed 04/30/18 Page 4 of 70                       PageID 16
MeLisa J. Williams                     PLACE STICKER AT TOP OF ENVELOPE TO THE RIGHT
                                        OF THE RETURN ADDRESS, FOLD AT DOTTED LINE
                               MMMMMMMMMMMM =on                 •Mi        OM 1•11M M M

Attorney at Law                         CERTIFIED MAIL®
                                                                                      .




P.O. Box 515
Somerville, TN 38068                                                                                                          U. F A STAG
                                                                                                                              SOMERVILLE, TN



                                                                      II
                                                                                                                                38068


                                                     00
                                   7017 2400 0001 1647 4466
                                                                                          UNITED STATES
                                                                                          Minn SERVICE eg



                                                                                                1000
                                                                                                            II   19801
                                                                                                                         11
                                                                                                                              APR 04, 18
                                                                                                                                AMOUNT

                                                                                                                                $9.51
                                                                                                                              R2305M145710-07




                                                      Endo Health Solutions, Inc Reg
                                                     Agent — The Corporation Trust Co
                                                     Corporation Trust Center
                                                     1209 Orange Street
                                                    ..\\Tilmington, DE 19801
         Case 2:18-cv-02290-SHL-cgc Document 1-2 Filed 04/30/18 Page 5 of 70                                                  PageID 17
 Fayette County Circuit Court
                                                                            ,_-4
  General Sessions, Circuit &
                                  STATE OF TENNESSEE                                Case Number
    Juvenile Court Clerk                  CIVIL     SUMMONS                      24CC1-2018-CV-14
    Somerville, TN 38068                          page 1 of 2

         (901)465-5205
          Roxie Whitley, Individually and as next friend of Baby Z.B.D (et. al) vs McKesson
Served On:

        Endo Health Solutions, Inc          Registered Agent, The Corporation Trust Company
                                            Corporation Trust Center
                                            1209 Orange Street
                                            Wilmington, DE 19801
You are hereby summoned to defend a civil action filed against you in Fayette County Circuit Court, Fayette County, Tennessee. Your defense must
be made within thirty (30) days from the date this summons is served upon you. You are directed to file your defense with the clerk of the court and
send a copy to the plaintiff's attorney at the address listed below. If you fail to defend s action by the required date, judgment by default may be
rendered against you for the relief sought in the complaint.
Issued: 3/28/2018
                                                                                    Clerk / Deputy C     - Fayett ounty Circuit Court
Attorney for Plaintiff:   MeLisa J. Williams (901) 465-2622



                                        NOTICE OF PERSONAL PROPERTY EXEMPTION
TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a homestead exemption
from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
listed in TCA §26-2-301. If a judgment should be entered against you in this action and you wish to claim property as exempt, you must file a
written list, under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and may be changed by
you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
wearing apparel (clothing) for your self and your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family
Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
right or how to execute it, you may wish to seek the counsel of a lawyer. Please state file number on list.
Mail list to   Ed Pulliam, Fayette County Circuit Court Clerk, Fayette County
               General Sessions, Circuit & Juvenile Court Clerk
               Somerville, TN 38068

                                                  CERTIFICATION (IF APPLICABLE)
I, Ed Fulham, Fayette County Circuit Court Clerk of Fayette County do certify this to be a true and correct copy of the original summons issued in
this case.
Date:
                                                             Clerk / Deputy Clerk — Fayette County Circuit Court

OFFICER'S RETURN: Please execute this summons and make your return within ninety (90) days of issuance as provided by law.

I certify that I have served this summons together with the complaint as follows:

Date:                                                                                           By:

RETURN ON SERVICE OF           SUMMONS BY MAIL: I hereby certify and return that on                                          ,I sent postage
prepaid, by registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint
in the above styled case, to the defendant                                . On                              I received the return receipt,
which had been signed by                              on                            . The return receipt is attached to this original
summons to be filed by the Court Clerk.

Date:
                                                                             Notary Public / Deputy Clerk (Comm. Expires


Signature of Plaintiff                                                   Plaintiff's Attorney (or Person Authorized to Serve Process)
                                                         (Attach return receipt on back)

ADA: If you need assistance or accommodations because of a disability, please call Ray Garcia, ADA Coordinator, at (901)465-3456
Case 2:18-cv-02290-SHL-cgc Document 1-2 Filed 04/30/18 Page 6 of 70     PageID 18



             IN THE CIRCUIT COURT OF FAYE
                                            TTE COUNTY, TENNESSEE
                        FOR THE 25111 JUDICIAL DISTRICT
                               AT SOMERVILLE

 ROXIE WHITLEY, INDIVIDUALLY
                                AND
 AS NEXT FRIEND OF BABY Z.B.D.,

 AND                                                      RECEIVED FILED
                                                              ip,(FiC COUR T
                                                        AT ILY,
 CHRIS AND DIANE DENSON, IND
                             IVIDUALLY AND
 AS NEXT FRIENDS OF BABY L.D                                     MAR 2 8 2018
                            .L.,
 AND                                                           FAYETTE COUNTY T
                                                               ED PULEpM, C
                                                         BY:
 JAMES AND TERI HOLLAND, IND
                              IVIDUALLY AND
 AS NEXT FRIENDS OF BABY A.C
                             .H.,
 ON BEHALF OF THEMSELVES
 AND ALL OTHERS SIMILARLY SIT
                              UA    TED,


        Plaintiffs,

V   .
                                               CASE NO. 24CC1-2018-CV-14

PURDUE PHARMA L.P.;                           CLASS ACTION COMPLAINT
PURDUE PHARMA, INC.;                          JUR Y TRIAL DEMANDED
THE PURDUE FREDERICK COMP
                              ANY, INC.;
MCKESSON CORPORATION;
CARDINAL HEALTH, INC.;
AMERISOURCEBERGEN CORPO
                             RATION;
TEVA PHARMACEUTICAL INDUS
                               TRIES, LTD.;
TEVA PHARMACEUTICALS USA,
                               INC.;
CEPHALON, INC.;
JOHNSON & JOHNSON;
JANSSEN PHARMACEUTICALS,
                            INC.;
ORTHO-MCNEIL-JANSSEN
                           PHARMACEUTICALS, INC.
PHARMACEUTICALS, INC.;                                     n/k/a JANSSEN
JANSSEN PHARMACEUTICA INC
                                . n/k/a JANSSEN PHARMACEUT
ENDO HEALTH SOLUTIONS INC                                      ICALS, INC.;
                            .;
ENDO PHARMACEUTICALS, INC
                             .;
ALLERGAN PLC f/kJa ACTAVIS PLC
                                 ;
WATSON PHARMACEUTICALS,
                            INC. n/k/a ACTAVIS, INC.;
WATSON LABORATORIES, INC.;
ACTAVIS LLC; and
Case 2:18-cv-02290-SHL-cgc Document 1-2 Filed 04/30/18 Page 7 of 70                             PageID 19



 ACTAVIS PHARMA, INC. f/k/a WA
                               TSON PHARMA, INC., AND
 FRED'S STORES OF TENNESSEE
                             , INC.

        Defendants.


                      FIRST AMENDED CLASS ACTIO
                                                                N COMPLAINT



        NOW COME Plaintiffs and Putativ
                                        e Class Represe            ntatives Roxie Whitley, as the next
friend of Baby Z.B.D., Chris and Dia
                                    ne Denson, as the next friends of Bab
                                                                                     y L.D.L., and James
and Teri Holland, as next of friends
                                           of Baby A.C..H. individually ,and
                                                                                    on behalf of all other
similarly situated, hereby filing the
                                           ir First Amended Class Action Com
                                                                                       plaint against the
Defendants for damages, equitable,
                                         statutory, and injunctive relief. In sup
                                                                                 port thereof, Plaintiffs
state as follows:


                                          INTRODUCTION

        1.   • Like thousands of children born
                                                        every year in Tennessee, Baby Z.B
                                                                                               .D., Baby
L.D.L. and Baby A.C.H. were bor
                                       n addicted to opioids. Prenatal exp
                                                                               osure to opioids cause
severe withdrawal symptoms and last
                                           ing developmental impacts. Baby Z.B
                                                                                      .D. was born three
years ago, Baby S.M.P was born eigh
                                         teen months ago and Baby A.C.H. was
                                                                                      born two years ago.
The first days of their lives were spe
                                      nt in excruciating pain as doctors wea
                                                                                     ned the infants from
opioid addiction. Baby Z.B.D., Baby
                                         L.D.L. and Baby A.C.H. will require
                                                                                years of treatment and
counseling to deal with the effects of
                                         prenatal exposure. The babies and thei
                                                                                    r mothers are victims
of the opioid crisis that has ravage
                                         d Tennessee, causing immense suf
                                                                                    fering to. those born
addicted to oPioids and great expens
                                     e to those forced to deal with the afte
                                                                              rmath.
       2.    At birth, Baby Z.B.D., Baby L.D
                                                 .L. and Baby A.C.H. suffered Ne
                                                                                     onatal
Abstinence Syndrome ("NAS"), a con
                                   dition suffered by babies of mothers
                                                                        addicted to opioids.



                                                    2
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  Baby Z.B.D., Baby L.D.L. and Bab
                                              y A.C.H. were forced to endure a
                                                                                         painful start to their 'lives;
 crying excessively, arching the
                                ir backs, refusing to feed, and
                                                                                      shaking. NAS is a clinical
 diagnosis, and "a consequence
                                            of the abrupt discontinuation of
                                                                                        chronic fetal exposure to
 substances that were used or abu
                                 sed by the mother during pregna
                                                                                        ncy. 5,1
                                                                                              Baby Z.B.D., Baby
 L.D.L. and Baby A.C.H. spent the
                                              ir first days in a Neonatal Intensi
                                                                                          ve Care Unit writhing in
 agony as they went through detoxi
                                  fication.

          3.        Baby Z.B.D.'s mother was prescr
                                                                ibed to Defendants' opioids and
                                                                                                         her addiction
 began prior to Z.B.D.'s gestation.
                                    Bab          y L.D.L.'s mother was prescribed
                                                                                             to Defendants' opioids
 and her addiction began prior to
                                           L.D.L.'s gestation. Baby A.C.H.'s
                                                                                      mother was also prescribed
 to Defendants' opioids and her add
                                            iction began prior to A.C.H.'s ges
                                                                                      tation.
          4.       Upon information and belief, the
                                                               mothers of Baby Z.B.D., Baby L.D
                                                                                                         .L. and Baby
 A.C.H. consumed opioids manufactu
                                              red and distributed by all named def
                                                                                          endants including:
               a: Purdue's products Oxycontin,
                                                        Dilaudid, and MS Contin;
                   Cephalon's products Actiq and Fen
                                                                tora;
                   Janssen's product Duragesic;

                   Endo's products Perodan, Percos
                                                               et, Opana, Opana EkOxycodone,
                                                                                                       Hydrocodone
                  (Vicodin and Lortab), Oxymorphon
                                                                   e, and Hydromorphone; and
                  Activis' product Norco and Kadian
                                                               .
         5.       The experiences of Baby Z.B.D.
                                                               , Baby L.D.L. and Baby A.C.H.
                                                                                                       are part of an
opioid epidemic sweeping through
                                               the United States, including Ten
                                                                                          nessee, that has caused
thousands of infants great sufferi
                                          ng and continuing developmental
                                                                                     issues. This epidemic is the
largest health care crisis in U.S. hist
                                       ory. Plaintiffs bring this class acti
                                                                                       on to eliminate the hazard

 Prabhakar Kocherlakota, Neonatal
                                       Abstinence Syndrome, 134(2) Pediatri
http://pediatrics.aappublications.o                                           cs 547, 547-48 (2014), available at
                                    rg/content/pediatrics/134121e547
                                                                     .full.pdf.

                                                           3
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    to public health and safety•caused
                                              by the opioid epidemic and to abate
                                                                                             the nuisance caused by
    Defendants' false, negligent and unf
                                                 air marketing and/or unlawful div
                                                                                              ersion of prescription
    opioids. Plaintiffs further seek the equ
                                                  itable relief of medical monitoring
                                                                                              to provide this class of
    infants the monitoring of developmen
                                                  tal issues that will almost inevitably
                                                                                                 appear as they grow
    older and equitable relief in the form
                                                of funding for services and treatment.

                   The incidence of NAS has been incr
                                                                   easing in the United States. The Sub
                                                                                                                  stance
    Abuse Mental Health Services Adm
                                                inistration reported that 1.1% of pre
                                                                                               gnant women abused
    opioids (0.9% used opioid pain relieve
                                                 rs and 0.2% used heroin) in 2011.2

                   In recent years, there has been a dra
                                                                   matic rise in the proportion of infa
                                                                                                                 nts who
    have been exposed to opioids. Opioid
                                         use          among women who gave birth increas
                                                                                                      ed in the United
    States from 1.19 to 5.63 per 1,000 hos
                                                 pital births per year between 2000 and
                                                                                                  2009. Concurrently
    the incidence of neonatal abstinence
                                               syndrome (NAS) among newborns
                                                                                             during the.same period
    (from 1.20 per 1,000 hospital births
                                              per year in 2000 to 3.39 per 1,000 hos
                                                                                              pital births per year in
2009).3

               In a study from Florida, the num
                                                ber of newborns who had NAS
                                                                                   and were
admitted to the NICU increased by
                                   10-fold from 2005 to 2011. Increa
                                                                     ses in the incidence of
NAS have been reported uniformly
                                     across community hospitals, tea
                                                                      ching hospitals, and
children's hospitals.4

                  The incidence of NAS in newborns
                                                                 born to opioid-dependent women is
                                                                                                                between
70 and 95 percent. Research sugges
                                  ts that newborns with NAS (most
                                                                                          commonly associated of
opioid misuse during pregnancy)
                                             are more likely than all other hos
                                                                                          pital births to have low
2 Id.
3 Patrick, S. W., Schumacher
                             , R. E., Benneyworth, B. D., Krans,
Neonatal abstinence syndrome and                                  E. E., McAllister, J. M., & Davis,
                                     associated health care expenditures                             M. M. (2012).
American Medical Association, 307(                                       : United States, 2000-2009. Journal of
                                    18), 1934-1940.                                                             the
4 Prabhakar Kocherlakota, Neonatal Abstinence
                                                  Syndrome, 134(2) Pediatrics 547,547-0 (201
http://pediatrics.aappublications.org/c                                                      4), available•at
                                        ontent/pediatrics/134/2/e547.full.pdf
                                                                              .

                                                            4
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  birthweight or respiratory • com
                                           plications. Untreated heroin and oth
                                                                                         er opioid misuse during
  pregnancy also is associated with incr
                                                 eased risk of placental abruption, pret
                                                                                               erm labor, maternal
  obstetric complications, and fetal dea
                                               th.5

                    The NAS epidemic and its consequen
                                                                  ces could have been, and should hav
                                                                                                               e been,
  prevented by. the Defendants who con
                                                 trol the U.S. drug distribution industry
                                                                                                and the Defendants
  who manufacture the prescription opio
                                                  ids. These Defendants have profited
                                                                                               greatly by allowing
  Tennessee to become flooded with pres
                                       cription opioids.

                    The drug distribution industry is sup
                                                                    posed to serve as a "check". in the
                                                                                                                  drug
  delivery system, by securing and mo
                                                nitoring opioids at every step of the
                                                                                             stream of commerce,
 protecting them from theft and mis
                                              use, and refusing to fulfill suspicious
                                                                                             or unusual orders by
 downstream pharmacies, doctors, clin
                                                 ics, or patients. Defendants woefull
                                                                                              y failed in this duty,
 instead consciously ignoring known
                                              or knowable problems and data in thei
                                                                                            r supply chains.
                 • Defendants thus intentionally and
                                                               negligently created conditions in whi
                                                                                                              ch vast
 amounts of opioids have flowed free
                                                 ly from drug manufacturers to inn
                                                                                              ocent patients who
 became addicted, to opioid abusers,
                                              and even to illicit drug dealers - with
                                                                                             distributors regularly
 fulfilling suspicious orders from pha
                                              rmacies and clinics, who were econom
                                                                                             ically incentivized to
 ignore "red flags" at the point of sale
                                              and before dispensing the pills.

                   Defendants' wrongful conduct has allo
                                                                   wed billions of opioid pills to be dive
                                                                                                                  rted
 from legitimate channels of distribution
                                                  into the illicit black market in quantit
                                                                                               ies that have fueled
 the opioid epidemic in Tennessee. This
                                        is characterized as "opioid div
                                                                        ersion." Acting against

 5 Winklbaur, B., Kopf, N.,
                            Ebner, N., Jung, E., Thau, K., & Fisc
 on opioids is not the same cis treating                          her, G. (2008). Treating pregnant women
                                          pregnancy and opioid dependence. Addictio                          dependent
 American College of Obstetricians                                                       n, 103(9), 1429-1440; see also
                                      and Gynecologists. (2012; reaffirme
 addiction in pregnancy (Committee                                         d in 2014). Opioid abuse, dependen
                                       Opinion No. 524). Retrieved from                                         ce, and
 Opinions/Committee-on-Health-Care                                          http://www.acog.org/-/media/Com
                                       -for-Underserved-Women/co524 .pdf?                                       mittee-
 also Kaltenbach, K., Berghella, V., & Finn                                  dmc-r-- 1 &ts=20150928T1302076021
                                                egan, L. (1998). Opioid dependence                                ; see
 management. Obstetrics Gynecology                                                      .during pregnancy: Effects and
                                        Clinics of North America, 25(1), 139-
                                                                              151.

                                                           5
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  their.common law and statutory duti
                                     es, Defendants have created an environ
                                                                                      ment in which opioid
  diversion is rampant. As a result, unk
                                           nowing patients and unauthorized opi
                                                                                       oid users have ready
  access to illicit sources of diverted opio
                                               ids.

                  For years, Defendants and their age
                                                            nts have had the ability to substantial
                                                                                                   ly reduce
  the consequences of opioid diversi
                                         on, including the dramatic increase
                                                                                  in the number of infants
  born with NAS. All the Defendant
                                          s in this action share responsibility
                                                                                      for perpetuating the
  epidemic and the exponential increase
                                        in the        number of infants afflicted with NA
                                                                                           S.
                 Defendants have foreseeably caused
                                                              damages to Plaintiffs and Class Me
                                                                                                mbers
  including the costs of neo-natal med
                                      ical care, additional therapeutic, pre
                                                                                  scription drug purchases
 and other treatments for NAS afflicte
                                          d newborns, and counseling and reha
                                                                                    bilitation services after
 birth and into the future. Plaintiffs
                                          bring this civil action for injunctive
                                                                                     relief, compensatory
 damages, statutory damages, and any
                                            other relief allowed by law against
                                                                                     the Defendant opioid
 drug distributors, retailers, and man
                                         ufacturers that, by their actions and
                                                                                  omissions, knowingly or
 negligently have distributed and disp
                                      ensed prescription opioid drugs in a
                                                                                   manner that foreseeably
 injured, and continues to injure, Plai
                                        ntiffs and the Class.

                                                  PARTIES
         A. • Plaintiffs

                Baby Z.B.D., Baby L.D.L., Bab
                                                   y A.C.H. and Putative Class me
                                                                                       mbers are
 individuals who have suffered Neo
                                   natal Abstinence Syndrome as a resu
                                                                       lt of exposure to opioids
 in utero. This drug exposure provid
                                     es Baby Z.B.D., Baby L.D.L. and
                                                                       A.C.H. the right to sue,
                                                                                    .
 through their next friends and gua
                                      rdians, for damages under produc
                                                                          t liability, nuisance,
 negligence, and gross negligence.

                Plaintiffs and Putative Class Memb
                                                             ers directly and foreseeably sustain
                                                                                                      ed all



                                                        6
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  damages alleged herein. Catego
                                     ries of past and continuing sustain
                                                                         ed damages include, inter alia:
  (1) costs for providing treatme
                                     nt of infants born with opioid-re
                                                                           lated medical conditions like
  NAS; (2) equitable relief of me
                                    dical monitoring, testing and trea
                                                                         tment for latent dread diseases
  associated with NAS (3) costs
                                     for providing ongoing medical
                                                                         monitoring care into a Court
 administered, fund, additional the
                                   rapeutic and prescription drug pur
                                                                      cha      ses, and other treatments;
 (4) costs for providing treatment,
                                      counseling and rehabilitation ser
                                                                        vic  es; and (5) costs associated
 with providing care for childr
                                    en whose parents suffer from
                                                                 opioid-related disability or
 incapacitation, including foster
                                  care services.

              • Plaintiffs and the Putative Cla
                                                  ss Members have suffered and
                                                                                        continue to suffer
 these damages directly. Plainti
                                    ffs and Putative Class Represen
                                                                       tatives also seek the means to
 abate the epidemic Defendants'
                                    wrongful and/or unlawful conduc
                                                                       t has created.
        B.      Defendants

              • McKesson Corporation ("McK
                                                  esson") has its principal place
                                                                                     of business in San
 Francisco, California and is inc
                                  orporated under the laws of De
                                                                   laware. During all relevant times,
 McKesson has distributed substan
                                      tial amounts of prescription opi
                                                                        oids to providers and retailers
 in the State of Tennessee.

                Cardinal Health, Inc. ("Cardina
                                                  l") has its principal place of bus
                                                                                        iness in Ohio and
is incorporated under the laws
                                    of Ohio. .During all relevant tim
                                                                           es, Cardinal has distributed
substantial amounts of prescripti
                                    on opioids to providers and reta
                                                                    ilers in the State of Tennessee.
                 AmerisourceBergen Corpo
                                                 ration has its principal place
                                                                                    of business in
Pennsylvania and is incorpora
                                   ted under the laws of Delaware
                                                                      . During all relevant times,
AmerisourceBergen has distrib
                                 uted substantial amounts of pre
                                                                 scription opioids to providers and
retailers in the State of Tennessee
                                    .



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               . McKesson, • Cardinal, and Am
                                                       erisourceBergen are collective
                                                                                          ly referred to
  hereinafter as "Distributor Defend
                                       ants."

                Purdue Pharma L.P. is a limited
                                                      partnership organized under
                                                                                        the laws of
  Delaware. Purdue Pharma, Inc. is
                                    a New York corporation with its
                                                                       principal place of business in
  Stamford, Connecticut, and The
                                  Purdue Frederick Company is a
                                                                     Delaware corporation with its
  principal place of business in
                                   Stamford, Connecticut (collec
                                                                        tively, "Purdue"). Purdue
  manufactures, promotes, sells,
                                     and distributes opioids such as
                                                                          OxyContin, MS Contin,
 Dilaudid/Dilaudid HP, Butran
                                s, Hysingla ER, and Targiniq ER
                                                                        in the U.S. and Tennessee.
 OxyContin is Purdue's best-sellin
                                     g opioid. Since 2009, Purdue's
                                                                        annual sales of OxyContin
 have fluctuated between $2.47 bill
                                    ion and $2.99 billion, up four-fo
                                                                      ld from its 2006 sales of $800
 million. OxyContin constitute
                                   s roughly 30% of the entire ma
                                                                          rket for analgesic drugs
 (painkillers).

         24.    Cephalon, Inc. ("Cephalon") is a
                                                      Delaware corporation with its prin
                                                                                          cipal place of
 business in Frazer, Pennsylvania
                                       . Cephalon manufactures, promo
                                                                            tes, sells, and distributes
 opioids such as Actiq and Fentor
                                       a in the U.S. and Tennessee. Ac
                                                                          tiq and Fentora have been
 approved by the FDA only for the
                                      "management of breakthrough can
                                                                      cer     pain in patients 16 years
 of age and Older who are already
                                        receiving and who are tolerant
                                                                          to opioid therapy for their
 underlying persistent cancer pai
                                   n." In 2008, Cephalon pled guilty
                                                                         to a criminal violation of the
 Federal Food, Drug and Cosmetic
                                      Act for its misleading promotion
                                                                         of Actiq and two other drugs
 and agreed to pay $425 million.

        25.     Teva Pharmaceutical Industries,
                                                   Ltd. ("Teva Ltd.") is an Israeli cor
                                                                                        poration with
 its principal place of business in
                                      Petah Tikva, Israel. Teva Pharma
                                                                       ceu   ticals USA, Inc. ("Teva
USA") is a wholly- owned sub
                                    sidiary of Teva Ltd. and is a De
                                                                     law    are corporation with its



                                                  8
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  principal place of business in Pennsy
                                         lvania. Teva USA acquired Cephalo
                                                                               n in October 201L
         26.     Teva Ltd., Teva USA, and Cephalo
                                                         n collaborate to market and sell Cep
                                                                                             halon
  products in the U.S. Teva Ltd. con
                                        ducts all sales and marketing activiti
                                                                                  es for Cephalon in the •
  U.S through Teva USA. Teva Ltd
                                           . and Teva USA publicize Actiq
                                                                                and Fentora as Teva
  products. Teva USA sells all form
                                            er Cephalon branded products thro
                                                                                     ugh its "specialty
  medicines" division. The FDA-approv
                                             ed prescribing information and med
                                                                                   ication guide, which
  is distributed with Cephalon opioid
                                         s marketed and sold in Tennessee, disc
                                                                                    loses that the guide
  was submitted by Teva USA, and
                                         directs physicians to contact Teva
                                                                                USA to report adverse .
  events. Teva . Ltd, has directed Cep
                                       halon to disclose that it is a wholly-own
                                                                                 ed subsidiary of Teva
  Ltd. on prescription savings cards
                                         distributed in Tennessee, indicating
                                                                                  Teva Ltd. would be
 responsible for covering certain co-p
                                         ay costs. All of Cephalon's promotiona
                                                                                   l websites, including
 those for Actiq and Fentora, promin
                                         ently display Teva Ltd.'s logo. Teva
                                                                                 Ltd.'s financial reports •
 list Cephaloh's and Teva USA's sale
                                           s as its own. Through interrelated ope
                                                                                     rations like these,
 Teva Ltd. operates in Tennessee and
                                          the rest of the U.S. through its subsidi
                                                                                    aries Cephalon and
 Teva USA. The U.S. is the largest of
                                          Teva Ltd.'s global markets, represen
                                                                               ting 53% of its global
 revenue in 2015, and, were it not for
                                          the existence of Teva USA and Cep
                                                                               halon, Inc., Teva Ltd.
 would conduct those companies' bus
                                        iness in Tennessee itself. Upon informa
                                                                                  tion and belief, Teva
 Ltd. directs the business practices
                                        of Cephalon and Teva USA, and thei
                                                                                 r profits inure to the
 benefit of Teva Ltd. as controlling sha
                                            reholder. (Teva Ltd., Teva USA, and
                                                                                     Cephalon, Inc. are
 hereinafter collectively referred to as
                                         "Cephalon.")

        27.     Janssen Pharmaceuticals, Inc. is a
                                                       Pennsylvania corporation with its prin
                                                                                             cipal
 place of business in Titusville, New
                                          Jersey, and is a wholly owned subsidi
                                                                                    ary of Johnson &
 Johnson (J&J), a New Jersey corporat
                                        ion with its principal place of busines
                                                                                s in New Brunswick,



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 New Jersey.          Ortho-McNeil-Janssen Pharma
                                                            ceuticals, Inc., now known as Jan
                                                                                                     ssen
  Pharmaceuticals, Inc., is a Pennsy
                                        lvania corporation with its princip
                                                                                al place of business in
 Titusville, New Jersey. Janssen Pha
                                        rmaceuticals Inc., now known as Jan
                                                                                  ssen Pharmaceuticals,
  Inc.,. is a Pennsylvania corporation
                                       with its principal place of business
                                                                             in Titusville, New Jersey.
 J&J is the only company that ow
                                      ns more than 10% of Janssen Pha
                                                                             rmaceuticals' stock, and
 corresponds with the FDA regard
                                       ing Janssen's products. Upon info
                                                                              rmation and belief, J&J
 controls the sale and development
                                      of Janssen Pharmaceuticals' drugs
                                                                            and Janssen's profits inure
 to J&J's benefit. (Janssen Pharmaceu
                                          ticals, Inc., Ortho-McNeil-Janssen
                                                                                 Pharmaceuticals, Inc.,
 Janssen Pharmaceutica, Inc., and
                                       J&J hereinafter are collectively refe
                                                                                rred to as "Janssen.").
 Janssen manufactures, promotes, sell
                                        s, and distributes drugs in the U.S. and
                                                                                   Tennessee, including
 the opioid Duragesic. Before 2009,
                                        Duragesic accounted for at least $1
                                                                                billion in annual sales.
 Until January 2015, Janssen develop
                                         ed, marketed, and sold the opioids
                                                                                 Nucynta and Nucynta
 ER. Together, Nucynta and Nucynta
                                        ER accounted for $172 million in sale
                                                                                 s in 2014.
          28.     Endo Health Solutions Inc. is a Del
                                                         aware corporation with its principa
                                                                                               l place of
business in Malvern, Pennsylvania.
                                       Endo Pharmaceuticals Inc. is a who
                                                                              lly- owned subsidiary of
Endo Health Solutions Inc. and is a
                                       Delaware corporation with its principa
                                                                                  l place of business in
Malvern, Pennsylvania. (Endo Hea
                                      lth Solutions Inc. and Endo Pharma
                                                                             ceuticals Inc. hereinafter
are collectively referred to as "En
                                     do.") Endo develops, markets, and
                                                                             sells prescription drugs,
including the opioids Opana/Opana
                                           ER, Percodan, Percocet, and Zyd
                                                                                 one, in the U.S. and
Tennessee. Opioids made up roughl
                                        y $403 million of Endo's overall rev
                                                                                 enues of $3 billion in
2012.. Opana. ER yielded $1.15 billion in
                                             revenue from 2010 and 2013, and it
                                                                                     accounted for 10%
of Endo's total revenue in 2012. End
                                           o also manufactures and sells gen
                                                                                  eric opioids such as
oxycodone, oxymorphone, hydrom
                                          orphone, and hydrocodone produc
                                                                                    ts in the U.S. and



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 Tennessee, by itself and through its sub
                                         sidiary, Qualitest Pharmaceuticals, Inc.

         29.     Allergan PLC is a public limited
                                                        company incorporated in Ireland
                                                                                               with its
 principal place of business in Dublin,
                                             Ireland. Actavis PLC acquired Allerg
                                                                                     an PLC in March
 2015, and the combined company cha
                                   nged its name to Allergan PLC in Jan
                                                                                    uary 2013. Before
 that,. Watson. Pharmaceuticals, Inc
                                      . acquired Actavis, Inc. in October
                                                                            2012, and the combined
 company changed its name to Actavis
                                    , Inc. as of January 2013, later to Act
                                                                                  avis PLC in October
 2013. Watson Laboratories, Inc. is a
                                         Nevada corporation with its principa
                                                                                  l place of business in
 Corona, California, and is a wholly-
                                        owned subsidiary of Allergan PLC (f/k
                                                                                  /a Actavis, Inc. f/k/a
 Watson Pharmaceuticals, Inc.). Act
                                             avis Pharma, Inc. (f/k/a Actavis,
                                                                                  Inc.) is a Delaware
 corporation with its principal plac
                                       e of business in New Jersey and was
                                                                                   formerly known as
 Watson Pharma, Inc. Actavis LLC
                                        is a Delaware limited liability com
                                                                             pany with its principal
 place of business in Parsippany, New
                                             Jersey. Each of these defendants is
                                                                                    owned by Allergan •
 PLC ; which Uses them to market and
                                           sell its drugs in Tennessee. Upon info
                                                                                   rmation and belief,
 Allergan PLC exercises control over
                                        and derives financial benefit from the
                                                                                  marketing, sales, and
 profits of Allergan/Actavis products.
                                         (Allergan PLC, Actavis PLC, Actavis
                                                                                  , Inc., Actavis LLC,
 Actavis Pharma, Inc., Watson Pha
                                         rmaceuticals, Inc., Watson Pharma
                                                                                  , Inc., and Watson
 Laboratories, Inc. hereinafter are refe
                                         rred to collectively as "Actavis.") Act
                                                                                   avis manufactures,
 promotes, sells, and distributes opioids,
                                             including the branded drugs Kadian
                                                                                  and Norco, a generic
 version of Kadian, and generic versions
                                             of Duragesic and Opana, in Tennessee.
                                                                                      Actavis acquired
 the rights to Kadian from King Pha
                                           rmaceuticals, Inc. on December 30,
                                                                                    2008, and began
 marketing Kadian in 2009.

        30.      Purdue, Cephalon, Janssen, Endo,
                                                  and Actavis are collectively referred
                                                                                        to
 hereinafter as the "Pharmaceutical Def
                                        endants."



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               • Fred's Stores of Tennessee, Inc.
                                                         is a Tennessee corporation with its
                                                                                               principal
  place of business in Memphis, Tennes
                                              see. The mothers of Baby Z.B.D., Bab
                                                                                     y L.D.L. and Baby
  A.C.H. regularly purchased opioid
                                    s at        pharmacies owned and operated by
                                                                                        Fred's Stores of
 Tennessee, Inc. in Somerville, Ten
                                   nessee. Fred's is referred to hereina
                                                                                 fter as the "Pharmacy
 Defendant."

                                   JURISDICTION AND VENUE

                 Jurisdiction is proper pursuant to Ten
                                                           n. Code Ann. § 16-10-101, et seq.
                 This Court has personal jurisdictio
                                                          n over Defendants, each of which
                                                                                                   has
 committed torts, in part or in whole,
                                        within the State of Tennessee, as alle
                                                                               ged herein. Moreover,
 Defendants have substantial contact
                                       s and business dealings directly with
                                                                             in Tennessee by virtue
 of their distribution, dispensing, and
                                         sales of prescription opioids. All cau
                                                                                 ses of action herein
 relate to Defendants' wrongful actions
                                         , conduct, and omissions committed
                                                                                against Plaintiffs and
 the Class, and the consequences and
                                          damages related to said wrongful acti
                                                                                   ons, conduct, and
 omissions.

                 Venue is proper pursuant to Tenn. Cod
                                                            e Ann. § 20-4-101-102 in that a sub
                                                                                          .     stantial
 part of the events giving rise to the clai
                                           ms occurred in Fayette County.

                                      BACKGROUND FACTS

         35.     Opioid means "opium — like" and the
                                                            term includes all drugs derived in who
                                                                                                  le or
 in part from the opium poppy.

        36.     The United States Food and Drug Adm
                                                            inistration's website describes this clas
                                                                                                     s of
 drugs as follows: "Prescription opi
                                    oids are powerful pain-reducing med
                                                                                  ications that include
 prescription oxycodone, hydrocodon
                                          e, and morphine, among others, and
                                                                                 have both benefits as
 well as potentially serious risks. The
                                          se medications can help manage pain
                                                                                  when prescribed for



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  the right condition and when used pro
                                          perly. But when misused or abused
                                                                                , they can cause serious
  harm, including addiction, overdose,
                                         and death."

                 Prescription opioids with the highes
                                                         t potential for addiction are categor
                                                                                              ized under
  Schedule II of the Controlled Sub
                                   stances Act. They include non-sy
                                                                             nthetic derivatives of the
  opium poppy (such as codeine and
                                       morphine, which are also called "op
                                                                              iates"), partially synthetic
 derivatives (such as hydrocodone
                                         and oxycodone), or fully synthetic
                                                                                  derivatives (such as
 fentanyl and methadone).

                Before the epidemic of Defendants
                                                        ' prescription opioids, the generally
                                                                                                 accepted
 standard of Medical practice was that
                                       opio   ids should only be used short-term
                                                                                    for acute pain, pain
 relating to recovery from surgery, or
                                       for   cancer or palliative (end-of-life) care
                                                                                    . Due to the lack of
 evidence that opioids improved pati
                                         ents' ability to overcome pain and
                                                                               function, coupled with
 evidence of greater pain complaints
                                       as patients developed tolerance to opi
                                                                                 oids over time and the
 serious risk . of addiction and oth
                                     er side effects, the use of opioid
                                                                         s for chronic pain was
 discouraged or prohibited. As a resu
                                      lt, doctors generally did not prescri
                                                                            be opioids for chronic
 pain.

              PHARMACEUTICAL DEFENDA
                                                        NTS' WRONGFUL CONDUCT
        39.     To establish and exploit the lucrati
                                                          ve market of chronic pain patien
                                                                                                 ts, each
 Pharmaceutical Defendant develo
                                     ped a well-funded, sophisticated,
                                                                             and negligent marketing
 and/or distribution scheme targeted
                                       at consumers and physicians. These
                                                                               Defendants used direct
 marketing, as well as veiled adverti
                                         sing by seemingly independent thir
                                                                                   d parties to spread
 misrepresentations about the risks and
                                        benefit  s of long-term opioid use — stateme
                                                                                        nts that created
 the "new" market for prescription opi
                                         oids, upended the standard medical
                                                                               practice, and benefited
 other Defendants and opioid manufa
                                   cturers. These statements were unsupp
                                                                                 orted by and contrary



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 to the scientific evidence. These stat
                                          ements were also contrary to pronou
                                                                                    ncements by and
 guidance from the FDA and CDC bas
                                             ed on that evidence. They also targeted
                                                                                            susceptible
 prescribers and vulnerable patient populat
                                             ions, including those in Tennessee.

        40.     The Pharmaceutical Defendants spread
                                                            their false and negligent statements by
 marketing their branded opioids directly
                                              to doctors and patients in Tennessee. Def
                                                                                            endants also
 deployed seemingly unbiased and inde
                                      pen      dent third parties that they controlled
                                                                                          to spread their
 false and negligent statements about the
                                            risks and benefits of opioids for the trea
                                                                                       tment of chronic
 pain throughout geographic areas and pati
                                             ent demographics of Tennessee.

      . 41.    The Pharmaceutical Defendants' direct
                                                          and branded ads negligently portrayed
                                                                                                      the
 benefits of opioids for chronic pain. For
                                              example, Endo distributed and made
                                                                                         available on its
 website www.opana.com, a pamphlet prom
                                               oting Opana ER with photographs dep
                                                                                          icting patients
 with 'physically demanding jobs, mislead
                                              ingly implying that the drug would prov
                                                                                          ide long-term
 pain-relief and functional improvemen
                                      t. Purdue ran a series of ads, called "Pa
                                                                                    in Vignettes," for
 OxyContin that featured chronic pain
                                          patients and recommended OxyContin
                                                                                    for each. One ad
 described a "54-year-old writer with oste
                                              oarthritis of the hands" and implied that
                                                                                           . OxyContin
 would help the writer work more effectiv
                                            ely.

        42.    The Pharmaceutical Defendants also prom
                                                             oted the use of opioids for chronic pain
 through "detailers" — sophisticated
                                          and specially trained sales representativ
                                                                                         es who visited
 individual doctors and medical staff, and
                                              fomented small-group speaker program
                                                                                          s. In 2014, for
instance, these Defendants spent almost
                                           $200 million on detailing branded opio
                                                                                   ids to doctors.
        43.    The FDA has cited at least one of thes
                                                         e Defendants for negligent promotions
                                                                                                      by
its detailers and direct-to-physician mar
                                           keting. In 2010 an FDA-mandated "De
                                                                                       ar Doctor" letter
required Actavis to inform doctors that
                                          "Actavis sales representatives distributed
                                                                                       . . . promotional



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  materials that . . . omitted and min
                                         imized serious risks associated wit
                                                                               h [Kadian]," including the
  risk of "[m]isuse, [a]buse, and
                                      [d]iversion of [o]pioids" and, spe
                                                                          cifically, the risk that
  "[o]pioid[s] have the potential for
                                      being abused and are sought by dru
                                                                        g abusers and people with
  addiction disorders and are subject
                                      to criminal diversion."

          44. • The Pharmaceutical Defend
                                                 ants invited doctors to participat
                                                                                       e, for payment and
  other remuneration, on and in spe
                                         akers' bureaus and programs paid
                                                                          for        by these Defendants.
  These speaker programs were des
                                         igned to provide incentives for doc
                                                                                tors to prescribe opioids,
  including recognition and compen
                                         sation for being selected as speake
                                                                             rs. These speakers give the
  false impression that they are pro
                                         viding unbiased and medically acc
                                                                               urate 'presentations when
  they are, in fact, presenting a scri
                                      pt prepared by these Defendants.
                                                                            On infonnation and belief,
 these presentations conveyed mislead
                                           ing information, omitted material info
                                                                                     rmation,, and failed to
 correct Defendants' prior misreprese
                                      ntat    ions about the risks and benefits of
                                                                                     opioids.
         45.     The Phan-naceutical Defendants' det
                                                           ailing to doctors was highly effectiv
                                                                                                   e in the
 national proliferation of prescriptio
                                          n opioids. Defendants used sophist
                                                                                  icated data mining and
 intelligence to track and understand
                                           the rates of initial prescribing and
                                                                                   renewal by individual
 doctors, allowing specific and ind
                                   ividual targeting, customizing,
                                                                               and monitoring of their
 marketing.

                The Pharmaceutical Defendants hav
                                                          e had unified marketing plans and
                                                                                                 strategies
 from state to state, including Ten
                                   nessee. This unified approach ens
                                                                                  ures that 'Defendants'
 messages were and are consistent and
                                           effective across all their marketing
                                                                                  efforts.
                The Pharmaceutical Defendants
                                                         negligently marketed opioids in
                                                                                                Tennessee
 through unbranded advertising tha
                                         t promoted opioid use generally,
                                                                               yet silent as to a specific
 opioid. This advertising was ostensib
                                           ly created and disseminated by ind
                                                                                  ependent third parties,



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  but funded, directed, coordinated,
                                         edited, and distributed, in part or wh
                                                                               ole, by these Defendants
  and their public relations firms and
                                         agents.

                 The Pharmaceutical Defendants use
                                                          d putative third-party, unbranded
                                                                                              advertising
  to avoid regulatory scrutiny as suc
                                          h advertising is not submitted to
                                                                              or reviewed by the FDA.
  These Defendants used third-party
                                       , unbranded advertising to create the
                                                                                false appearance that the
  negligent messages came from an ind
                                           ependent and objective source.

                 The Pharmaceutical Defendants' neg
                                                         ligent unbranded marketing also. con
                                                                                                tradicted
 their branded materials reviewed by
                                         the FDA.

                The Pharmaceutical Defendants
                                                         marketed opioids through a small
                                                                                                circle of
 doctors who were vetted, selected
                                  , funded, and promoted by these
                                                                              Defendants because their
 public positions supported the use
                                         of prescription opioids to treat chr
                                                                               onic pain. These doctors
 became known as "key opinion lead
                                  ers" or "KOLs." These Defendant
                                                                              s paid KOLs to serve in a
 number of doctor-facing and pub
                                       lic-facing capacities, all designed
                                                                              to promote a pro-opioid
 message and to promote the opioid
                                       industry pipeline, from manufactur
                                                                            e to distribution to retail.
               These Defendants entered into
                                                 and/or benefitted from arrangem
                                                                                       ents with
 seemingly unbiased and independe
                                  nt organizations or groups that gen
                                                                      erated treatment guidelines,
 unbranded materials, and programs
                                    promoting chronic opioid therapy,
                                                                         including the American
 Pain Society ("APS"), American
                                 Geriatrics Society ("AGS"), the Fed
                                                                        eration of State Medical
 Boards ("FSMB"), American Chr
                                 onic Pain Association ("ACPA"),
                                                                       American Society of Pain
 Education ("ASPE"), National Pai
                                   n Foundation ("NPF"), and Pain
                                                                        & Policy Studies Group
 ("PPSG").

                The Pharmaceutical Defendants
                                                         collaborated, through the aforem
                                                                                               entioned
 organizations and groups, to spread
                                         negligent messages about the risks
                                                                              and benefits of long-term



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  opioid therapy.

         53.     To convince doctors and patients in Ten
                                                               nessee that opioids can and should be
  used to treat chronic pain, these Defend
                                             ants had to persuade them that long-ter
                                                                                        m .opioid use is
 both safe and helpful. Knowing tha
                                          t they could do so only by convey
                                                                                    ing negligent
 misrepresentations to those doctors and
                                         patients about the risks and benefits of
                                                                                  long-term opioid
 use, these Defendants made claims that
                                         were not supported by or were contrar
                                                                                  y to the scientific
 evidence and which were contradicted by
                                          data.
         54.     To convince doctors and patients that
                                                              opioids are safe, the Pharmaceutica
                                                                                                        l
 Defendants negligently trivialized and
                                              failed to disclose the risk's of long-ter
                                                                                         m opioid use,
 particularly the risk of addiction, thro
                                              ugh a series of misrepresentations that
                                                                                             have been
 conclusively debunked by the FDA and
                                             CDC. These misrepresentations — whi
                                                                                       ch are described
 below — reinforced each other and crea
                                               ted the dangerously misleading impress
                                                                                            ion that: (a)
 starting patients on opioids was low- risk
                                              because most patients would not become
                                                                                           addicted, and
 because those who were at greatest risk
                                            of addiction could be readily identified
                                                                                      and managed; (b)
 patients who displayed signs of addictio
                                             n probably were not addicted and, in any
                                                                                           •event, could
 easily be weaned from the drugs; (c) the
                                             use of higher opioid doses, which many
                                                                                        patients need to
 sustain pain relief as they develop toleranc
                                               e to the drugs, do not pose special risks;
                                                                                          and (d) abuse-
 deterrent opioids both prevent abuse and
                                              overdose and are inherently less addictiv
                                                                                          e. Defendants
 have not only failed to correct these mis
                                           representations, they continue to make
                                                                                     them today.
         55.     The Pharmaceutical Defendants neg
                                                            ligently claimed that the risk of opio
                                                                                                       id
 addiction is low and that addiction is
                                            unlikely to develop when opioids are
                                                                                         prescribed, as
 opposed to obtained illicitly; and faile
                                          d to disclose the greater risk of addictio
                                                                                      n with prolonged
 use of opioids. Some examples of thes
                                           e negligent misrepresentations by opio
                                                                                      id manufacturers



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   are: .(a) Actavis employed a pati
                                    ent education brochure that neglige
                                                                            ntly claimed opioid addiction
   is "less likely if you have never had
                                           an addiction problem;" (b) Cephalo
                                                                                    n and Purdue sponsored
   APF's Treatment Options: A Guide
                                             for People Living with Pain, neglige
                                                                                         ntly claiming that
   addiction is rare and limited to ext
                                       reme cases of unauthorized doses;
                                                                                     (c) Endo sponsored a
   website, Painknowledge.com , wh
                                       ich negligently claimed that "[p]eo
                                                                                   ple who take opioids as
   prescribed usually do not become add
                                        icted;"     (d) Endo distributed a pamphlet wit
                                                                                            h the Endo logo
   entitled Living with Someone with
                                          Chronic Pain, which stated that: "mo
                                                                                   st people do not develop
   an addiction problem;" (e) Janssen
                                          distributed a patient education guide
                                                                                    entitled Finding Relief:
   Pain. Management for Older Adults
                                              which described as "myth" the clai
                                                                                        m that opioids are
  addictive; (f) a Janssen website neg
                                            ligently claimed that concerns abo
                                                                                    ut opioid addiction are
  "overestimated;" (g) Purdue sponso
                                          red APF's A Policymaker's Guide to
                                                                                    Understanding Pain &
  Its Management — that negligently
                                          claims that pain is undertreated due
                                                                                 to "misconceptions about
. opioid addiction."

                 These claims are contrary to longsta
                                                            nding scientific evidence, as the FD
                                                                                                     A and
  CDC have conclusively declared.
                                         As noted in the 2016 CDC Guideli
                                                                               ne endorsed by the FDA,
  there is "extensive evidence" of the
                                         "possible harms of opioids (including
                                                                                    opioid use disorder [an
  alternative term for opioid addiction]
                                           )." The Guideline points Out that "[o]
                                                                                     pioid pain medication
  use presents serious risks, including
                                          . . . opioid use disorder" and that "co
                                                                                   ntinuing opioid therapy
  for three (3) months substantially incr
                                            eases risk for opioid use disorder."

                 The FDA further exposed the fals
                                                          ity of the Pharmaceutical Defendant
                                                                                                  s' claims
  about the low risk of addiction whe
                                          n it announced changes to the labe
                                                                                   ls for certain opioids in
  2013 and for other opioids in 201
                                       6. In its announcements, the FDA
                                                                                 found that "most opioid
  drugs have 'high potential for abuse'
                                            and that opioids "are associated wit
                                                                                     h a substantial risk of



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  misuse, abuse, NOWS [neonatal opioid
                                              withdrawal syndrome], addiction, overdos
                                                                                            e, and death."
  According to the FDA, because of the "kno
                                           wn serious risks" associated with long-term
                                                                                                   opioid
  use, including "risks of addiction, abuse,
                                               and misuse, even at recommended dose
                                                                                          s, and because
  of the greater risks of overdose and deat
                                              h," opioids should be used only "in pati
                                                                                          ents for whom
  alternative treatment options" like non-opi
                                               oid drugs have failed. The FDA further ackn
                                                                                                owledged
  that the risk is not limited to patients who
                                                 seek drugs illicitly; addiction "can occu
                                                                                             r in patients
 appropriately prescribed [opioids]."

         58.     The State of New York, in a 2016 settl
                                                            ement agreement with Endo, found that
 opioid "use disorders appear to be highly
                                               prevalent in chronic pain Patients treated
                                                                                            with opioids,
 with up to 40% of chronic pain patients
                                              treated in specialty and primary care outp
                                                                                            atient centers
 meeting the clinical criteria for an
                                             opioid use disorder." Endo had clai
                                                                                          med on its
 www.opana.com website that "[m]ost hea
                                              lthcare providers who treat patients with
                                                                                            pain agree
 that patients treated with prolonged opio
                                            id medicines usually do not become add
                                                                                       icted," but the
 State of New York found no evidence for
                                              that statement. Consistent with this, End
                                                                                          o agreed not
 to "make statements that . . . opioids gene
                                             rally are non-addictive" or "that most pati
                                                                                         ents who take
 opioids do not become addicted" in New
                                               York. This agreement, however, did not
                                                                                             extend to
 Tennessee.

         59.    The Pharmaceutical Defendants neglige
                                                             ntly instructed doctors and patients that
 the signs of addiction are actually signs
                                             of undertreated pain and should be treated
                                                                                          by prescribing
 more opioids. Defendants called this phe
                                               nomenon "pseudo-addiction" — a term
                                                                                   used           by Dr.
 David Haddox, who went to work for Purd
                                                 ue, and Dr. Russell Portenoy, a KOL for
                                                                                              Cephalon,
 Endo, Janssen, and Purdue. Defendants
                                              negligently claimed that pseudo-add
                                                                                       iction was
 substantiated by scientific evidence. Som
                                           e examples of these negligent claims are:
                                                                                     (a) Cephalon



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  and Purdue Sponsored Responsibl
                                          e Opioid Prescribing, which taught
                                                                                    that behaviors such as
  "requesting drugs by name," "de
                                 manding or manipulative behavi
                                                                             or," seeing more than one
  doctor to obtain opioids, and hoa
                                   rding, are all signs of pseudo-ad
                                                                                  diction, rather than true
  addiction; (b) Janssen sponsored,
                                        funded, and edited the Let's Talk Pai
                                                                                  n website, which in 2009
  stated: "pseudo-addiction . . . refe
                                      rs to patient behaviors that may occ
                                                                                   ur when pain is under-
  treated;" (c) Endo sponsored a Nat
                                    ional Initiative on Pain Control (NI
                                                                                  PC) CME program titled
  Chronic Opioid Therapy: Understan
                                   ding Risk While Maximizing Analg
                                                                                     esia, which promoted
  pseudo-addiction by teaching that
                                         a patient's aberrant behavior was the
                                                                                   result of untreated pain;
  (d) Purdue sponsored a negligent
                                        CME program entitled Path of the
                                                                             Patient, Managing Chronic
 Pain in Younger Adults at Risk for
                                           Abuse in which a narrator notes
                                                                                  that because of pseudo-
 addiction, a doctor should not assu
                                    me the patient is addicted.

                 The 2016 CDC Guideline rejects the
                                                          concept of pseudo-addiction, explain
                                                                                                   ing that
 1p]atients who do not experience
                                         clinically meaningful pain relief
                                                                              early in treatment . . . are
 unlikely to experience pain relief
                                        with longer- term use," and that phy
                                                                                   sicians should reassess
 "pain and function within 1 month
                                        " in order to decide whether to "mi
                                                                             nimize risks 'of long-term
 opioid use by discontinuing opioid
                                        s" because the patient is "not receivin
                                                                               g a clear benefit."
                The Pharmaceutical Defendants neg
                                                          ligently instructed doctors and pat
                                                                                                 ients that
 addiction risk screening tools, pati
                                     ent agreements, urine drug screens
                                                                           , and similar strategies were
 very effective to identify and saf
                                        ely prescribe opioids to even tho
                                                                            se patients predisposed to
 addiction. These misrepresentation
                                        s were reckless because Pharmaceu
                                                                              tical Defendants directed
 them to general practitioners and
                                        family doctors who lack the time
                                                                              and expertise to closely
 manage higher-risk patients on opi
                                         oids. Pharmaceutical Defendants'
                                                                              misrepresentations were
 intended to make doctors more com
                                           fortable in prescribing opioids. Som
                                                                                     e examples of these



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  negligent claims are: (a) an Endo sup
                                            plement in the Journal of Family Pra
                                                                                    ctice emphasized the
  effectiveness of screening tools to
                                        avoid addictions; (b) Purdue's web
                                                                               inar, Managing Patient's
  Opioid Use: Balancing the Need and
                                            Risk, claimed that screening tools,
                                                                                   urine tests, and patient
  agreements prevent "overuse of pre
                                     scri     ptions" and "overdose deaths;" (c)
                                                                                   Purdue represented in
  scientific conferences that "bad app
                                            le" patients — and not opioids. —
                                                                                 were the source of the
  addiction crisis, when in fact the "ba
                                           d apples" were the Defendants.

         62.     The 2016 CDC Guideline exposes
                                                          the falsity of these misrepresentation
                                                                                                 s, noting
  that there are no studies assessing
                                           the effectiveness of risk mitigation
                                                                                   strategies — such as
  screening tools, patient contracts, urin
                                           e drug   testing, or pill counts widely believe
                                                                                          d by doctors to
  detect and deter abuse — "for imp
                                    rov       ing outcomes related to overdose,
                                                                                    addiction, abuse, or
  misuse." The Guideline emphasize
                                            s that available risk screening too
                                                                                  ls "shoW insufficient
 accuracy for classification of patients
                                             as at low or high risk for [opioid]
                                                                                   abuse or misuse" and
 counsels that doctors "should not
                                      overestimate the ability of these too
                                                                               ls to rule out risks from
 long-term opioid therapy."

                 To underplay the risk and impact
                                                           of addiction and make doctors fee
                                                                                                   l more
 comfortable starting patients on opi
                                           oids, Pharmaceutical Defendants neg
                                                                                   ligently claimed that
 opioid dependence can easily be solv
                                     ed by tapering, that opioid withdraw
                                                                                al was not difficult, and
 that there were no problems in stopping
                                             opioids after long-term use.

                 A CME sponsored by Endo, entitled
                                                           Persistent Pain in the Older Adult,
                                                                                                 claimed
 that withdrawal symptoms could be
                                        avoided by tapering a patient's opioid
                                                                                   dose by up to 20% for
 a few days. Purdue sponsored AP
                                        F's A Policymaker's Guide to Un
                                                                               derstanding Pain & Its
 Management, that claimed "[s]ym
                                 pto        ms of physical dependence can ofte
                                                                                    n be ameliorated by
 gradually decreasing the dose of med
                                            ication during discontinuation," wit
                                                                                   hout mentioning any



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  known or foreseeable issues.

         65.    Pharmaceutical Defendants negligently min
                                                                imized the significant symptoms of
  opioid withdrawal — which, as explained
                                          in the       2016 CDC Guideline, include drug cravings
                                                                                                        ,
  anxiety, insomnia, abdominal pain, vomiting
                                                   , diarrhea, sweating, tremor, tachycardia
                                                                                                (rapid
  heartbeat), sPontaneous abortion and prem
                                              ature labor in pregnant women, and the unm
                                                                                             asking of
  anxiety, depression, and addiction — and
                                                  grossly understated the difficulty of tape
                                                                                                 ring,
  particularly after long-term opioid use. The
                                               2016 CDC    Guideline recognizes that the duration of
  opioid use and the dosage of opioids prescrib
                                                  ed should be "limit[ed]" to "minimize the
                                                                                               need to
  taper opioids to prevent distressing or unp
                                                leasant withdrawal symptoms," because "phy
                                                                                          sical
  dependence on opioids is an expected phys
                                                iologic response in patients exposed to opio
                                                                                                ids for
  more than a few days." The Guideline furth
                                                 er states that "tapering opioids can be espe
                                                                                             cially
  challenging after years on high dosages beca
                                                 use of physical and psychological dependen
                                                                                               ce" and
 highlights the difficulties, including the
                                              need to carefully identify "a taper slow enou
                                                                                                 gh to
 minimize symptoms and signs of opioid
                                                withdrawal" and to "pause[] and restartH
                                                                                              " tapers
 depending on the patient's response. The CDC
                                                    also acknowledges the lack of any high-qua
                                                                                                     lity
 studies comparing the effectiveness of diffe
                                              rent tapering protocols for use when opioid
                                                                                             dosage is
 reduced or opioids are discontinued."

         66.    The Pharmaceutical Defendants negligen
                                                              tly claimed that doctors and patients
 could increase opioid dosages indefinitely
                                                 without added risk of .addiction and other heal
                                                                                                      th
 consequences, and failed to disclose the grea
                                                ter risks to patients at higher dosages. The abili
                                                                                                  ty to
 escalate dosages was critical to Defendants'
                                                 efforts to market opioids for long-term use
                                                                                               to treat
 chronic pain because, absent this misrepre
                                              sentation, doctors would have abandoned
                                                                                            treatment
 when patients built up tolerance and lower
                                              dosages did not provide pain relief. For exam
                                                                                               ple: (a)



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  an Actavis patient brochure stated - "Ov
                                             er time, your body may become tolerant
                                                                                         of your current
  dose. You may require a dose adjustm
                                              ent to get the right amount of pain relie
                                                                                          f. This is not
  addiction," (b) Cephalon and Purdue spon
                                                sored APF's Treatment Options: A Gui
                                                                                          de for People
 .Living with Pain, claiming that some
                                             patients need larger doses of opioids, with
                                                                                            "no ceiling
 dose" for appropriate treatment
                                          of severe, chronic pain; (c) an End
                                                                                           o website,
 painknowledge.com , claimed that opio
                                         id dosages may be increased until "you
                                                                                       are on the right
 dose of medication for your pain," (d) an
                                            Endo pamphlet Understanding Your Pain
                                                                                          : Taking Oral
 Opioid Analgesics, stated "The dose can
                                              be increased. . . . You won't 'run out' of
                                                                                            pain relief,"
 (e) a Janssen patient education guide Find
                                              ing Relief: Pain Management for Older
                                                                                           Adults listed
 dosage limitations as "disadvantages" of
                                          Other pain medicines yet 'omitted any disc
                                                                                         ussion of risks
 of increased opioid dosages; (f) Purdue's
                                            In the Face of Pain website promotes the
                                                                                           notion that if
 a patient's doctor does not prescribe wha
                                           t, in the patient's view, is a sufficient dosa
                                                                                          ge of opioids,
 he or she should find another doctor
                                            who will; (g) Purdue's A Policymake
                                                                                          r's Guide to
 Understanding Pain & Its Management state
                                                d that dosage escalations are "sometimes
                                                                                             necessary,"
 even unlimited ones, but did not disclose
                                            the risks from high opioid dosages; (h) a
                                                                                          Purdue CME
 entitled Overview of Management Options
                                               taught that NSAIDs and other drugs, but
                                                                                            not opioids,
 were unsafe at high dosages; (i) Purdue pres
                                               ented a 2015 paper at the College on the
                                                                                            Problems of
 Drug Dependence challenging the correlati
                                             on between opioid dosage and overdose.

        67.     These and other representations conflict
                                                            with the scientific evidence, as confirme
                                                                                                       d
 by the FDA and CDC. As the CDC exp
                                             lains in its 2016 Guideline, the "[b]enef
                                                                                       its of high-dose
 opioids for chronic pain are not establis
                                           hed" while the "risks for serious harms
                                                                                      related to opioid
 therapy increase at higher opioid dosage."
                                                 More specifically, the CDC explains that
                                                                                               "there is
 now an established body of scientific evid
                                              ence showing that overdose risk is increase
                                                                                            d at higher



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  opioid dosages." The CDC sta
                                     tes that "there is an increased
                                                                          risk for opioid use disorder,
 respiratory depression, and dea
                                    th at higher dosages." That is wh
                                                                          y the CDC advises doctors to
 "avoid increasing dosages" above
                                     90 morphine milligram equivalen
                                                                           ts per day.
                 The 2016 CDC Guideline reinfor
                                                       ces earlier findings announced by
                                                                                             the FDA. In
 2013,. the FDA acknowledged
                                    "that the available data do sug
                                                                          gest a relationship between
 increasing opioid dose and risk
                                     of certain adverse events." For
                                                                          example, the FDA noted that
 studies "appear to credibly sugges
                                      t a positive association between
                                                                           high-dose opioid use and the
 risk of overdose and/or overdose
                                    mortality."

                Pharmaceutical Defendants' marke
                                                       ting of the so-called abuse-deterre
                                                                                           nt properties
 of some of their opioids create
                                   d false impressions that these opi
                                                                          oids can curb addiction and
 abuse. Indeed, in a 2014 survey
                                    of 1,000 primary care physicians
                                                                        , nearly half reported that they
 believed abuse-deterrent formula
                                   tions are inherently less addictive.

                Pharmaceutical Defendants have
                                                    made misleading claims about the
                                                                                         ability of their
so-called abuse-deterrent opi
                                     oid formulations to deter abu
                                                                        se. For • example, Endo's
advertisements for the 2012 refo
                                  rmulation of Opana ER negligently
                                                                         claimed that. it was designed
to be crush resistant, in a way tha
                                    t suggested it was more difficult
                                                                      to abuse. The FDA warned in a
2013. letter that there was no
                                  evidence Endo's design "woul
                                                                      d provide a reduction in oral,
intranasal or intravenous abuse."
                                       Moreover, Endo's own studies,
                                                                         which it failed to disclose,
showed that Opana ER could stil
                                  l be ground and chewed.

                In a 2016 settlement with the
                                                  State of New York, Endo agreed
                                                                                          not to .make
statements in New York that Op
                                   ana ER was "designed to be, or
                                                                       is crush resistant." New York
found those statements false and
                                     negligent because there was no
                                                                    dif       ference in the ability to
extract the narcotic from Opana
                                  ER. Similarly, the 2016 CDC Gu
                                                                      ideline states that "[il]° studies"



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  support the notion that "abuse-deterre
                                          nt technologies [are] a risk mitigation
                                                                                    strategy for deterring
  or preventing abuse," noting that the
                                           technologies — even when they wor
                                                                                    k — "do not prevent
  opioid abuse through oral intake, the
                                          most common route of opioid abuse,
                                                                               and can still be abused
  by non-oral routes."

         72.     These numerous, longstanding misrepr
                                                           esentations minimizing the risks of
                                                                                                    long-
 term opioid use persuaded doctors
                                            and patients to discount or ignore
                                                                                      the true risks.
 Pharmaceutical Defendants also had
                                       to persuade them that there was a sign
                                                                               ificant upside to long-
 term opioid use. But as the 2016 CD
                                        C Guideline makes clear, there is "ins
                                                                                ufficient evidence to
 determine the long-term benefits of opio
                                           id therapy for chronic pain." In fact,
                                                                                  the CDC found that
 "[n]o evidence shows a long-term ben
                                         efit of opioids in pain and function
                                                                               versus no opioids for
 chronic pain with outcomes examin
                                         ed at least 1 year later (with most
                                                                                 placebo-controlled
 randomized trials < 6 weeks in dur
                                        ation)" and that other treatments wer
                                                                                   e more or equally
 beneficial and less harmful than long
                                       -term opioid use. The FDA, too, has
                                                                              recognized the lack of
 evidence to support long-term opioid
                                          use. In 2013, the FDA stated that it
                                                                                   was "not aware of
 adequate and well-controlled stud
                                      ies of opioids use longer than • 12
                                                                              weeks." Despite this,
 Defendants negligently and mislead
                                         ingly touted the benefits of long-te
                                                                                  rm opioid use and
 negligently and misleadingly sugges
                                     ted that these benefits were supported
                                                                              by scientific evidence.
 Not only have Defendants failed to
                                       correct these false and negligent clai
                                                                               ms, they continue to
 make them today.

        73.     For example, the Pharmaceutical Def
                                                        endants negligently claimed that long
                                                                                                   -term
 opioid use improved patients' fun
                                         ction and quality of life, includ
                                                                            ing the following
 misrepresentations: (a) an Actavis adv
                                       ertisement claimed that the use of Kad
                                                                              ian to treat chronic
 pain, would allow patients to return
                                        to work, relieve "stress on your bod
                                                                             y and your mental



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    health," and help patients enjoy their live
                                                  s; (b) an Endo advertisement that claimed
                                                                                                  that the use
    of Opana ER for chronic pain would
                                              allow patients to perform demanding
                                                                                           tasks, portraying
    seemingly healthy, unimpaired persons
                                                 ; (c) a Janssen patient education guide
                                                                                            Finding Relief:
    Pain Management for Older Adults state
                                                 d as "a fact" that "opioids may make it
                                                                                           easier for people
.   to live normally" such as sleeping pea
                                             cefully, working, recreation, .sex, walking
                                                                                             , 'and climbing
    stairs; (d) Purdue advertisements of Oxy
                                                 Contin entitled "Pain vignettes" implied
                                                                                            that OxyContin
    improves patients' function; (e) Respon
                                             sible Opioid Prescribing, by Cephalon,
                                                                                          Endo and Purdue,
    taught that relief of pain by opioids, by
                                                  itself, improved patients' function; (f)
                                                                                               Cephalon and
    Purdue sponsored APF's Treatment Opt
                                                 ions: A Guide for People Living with
                                                                                           Pain counseling
    patients that opioids "give [pain patients
                                                ] a quality of life we deserve;" (g) End
                                                                                          o's NIPC website
    painknowledge.com claimed that with
                                              opioids, "your level of function should
                                                                                               improve; you
    may find you are now able to participate
                                                  in activities of daily living, such as wor
                                                                                             k and hobbies,
    that you were not able to enjoy when
                                             your pain was worse;" (h) Endo CMEs
                                                                                           titled Persistent
    Pain in the Older Patient claimed that
                                             chronic opioid therapy had been "sho
                                                                                       wn to reduce pain
    and improve depressive symptoms and
                                                cognitive functioning;" (i) 'Janssen spo
                                                                                            nsored, funded,
    and edited a website, Let's Talk Pain,
                                             in 2009, which featured an interview
                                                                                        edited by Janssen
    claiming that opioids allowed a patient
                                                to "continue to function," (j) Purdue's
                                                                                           A Policymaker's
    Guide to Understanding Pain & Its Man
                                                 agement claimed that "multiple clinical
                                                                                                studies" had
    shown opioids as effective in improving
                                                 daily function, psychological health, and
                                                                                               health-related
    quality of life for chronic pain patients
                                              ; (k) Purdue's, Cephalon's, Endo's, and
                                                                                            Janssen's sales
    representatives have conveyed and con
                                                tinue to convey the message that opio
                                                                                          ids will improve
    patient function.

           74.     These claims find no support in the scie
                                                               ntific literature. The 2016 CDC Guideli
                                                                                                          ne



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  concluded that "there is no goo
                                      d evidence that opioids impro
                                                                       ve pain or function with long-t
                                                                                                        erm
  use, and . . . complete relief
                                    of pain is unlikely" (emphasi
                                                                      s added). The CDC reinforce
                                                                                                      d this
  conclusion throughout its 201
                                   6 Guideline:

              "No evidence shows a long-t
                                               erni benefit of opioids in pai
              opioids for chronic pain with                                   n and function versus no
                                              outcomes examined at least 1
                                                                              year later. . ."
              "Although opioids can reduce
                                               pain during short-term use, the
              found insufficient evidence to                                    clinical evidence review
                                               determine whether pain relief
              function or quality of life imp                                  is sustained and whether
                                              roves with long-term opioid the
                                                                               rapy."
              "[E]vidence is limited or ins
                                              ufficient for improved pain or
              use of opioids for several chr                                  function with long-term
                                               onic pain conditions for which
              prescribed, such as low back                                      opioids are commonly
                                              pain, headache, and fibromyal
                                                                            gia."
         75.      The CDC also noted that the
                                                  risks of addiction and death "ca
                                                                                   n cause distress and
 inability to fulfill major role obl
                                     igations." As a matter of com
                                                                   mon sense (and medical eviden
                                                                                                    ce),
 drugs that can kill patients or
                                 commit them to a life of addicti
                                                                   on or recovery do not improv
                                                                                                 e their
 function and quality of life.

        76.      The 2016 CDC Guideline wa
                                                  s not the first time a federal
                                                                                   agency repudiated the
 Pharmaceutical Defendants'
                                 claim that opioids improved
                                                                 function and quality of life.
                                                                                                 In 2010,
 the FDA warned Actavis tha
                                 t "[w]e are not aware of substa
                                                                  ntial evidence or substantial
                                                                                                  clinical
 experience demonstrating tha
                              t the    magnitude of the effect of the
                                                                        drug [Kadian] has in alleviatin
                                                                                                         g
pain, taken together with any
                                   drug-related side effects patien
                                                                   ts may experience. . . results
                                                                                                    in any
overall positive impact on a pat
                                    ient's work, physical and me
                                                                   ntal functioning, daily activities
                                                                                                       , or
enjoyment of life." In 2008, the
                                     FDA sent a warning letter to
                                                                      an opioid manufacturer, makin
                                                                                                       g it
clear "that [the claim that] pat
                                 ients who are treated with the
                                                                   drug experience an improvem
                                                                                              ent in
their overall function, social
                                 function, and ability to perfor
                                                                   m daily activities . . . has not
                                                                                                      been
demonstrated by substantial evi
                                   dence or substantial clinical exp
                                                                      erience."
       77.      The Pharmaceutical Defendan
                                                  ts also negligently and misleadi
                                                                                    ngly emphasized or


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  exaggerated the risks of competing
                                           products like NSAIDs, so that doc
                                                                                     tors and patients would
  look to opioids first for the treatme
                                          nt of chronic pain. Once again, the
                                                                                    se misrepresentations by
  Defendants contravene pronounce
                                        ments by and guidance from the
                                                                              FDA and CDC based on the
  scientific evidence. Indeed, the
                                       FDA changed the labels for ER
                                                                            /LA opioids in 2013 and IR
  opioids in 2016 to state that opioid
                                      s    should only be used as a last res
                                                                                ort "in patients for which
  alternative treatment options" like
                                        non-opioid drugs "are inadequate."
                                                                                The 2016 CDC Guideline
  states that NSAIDs, not opioids,
                                       should be the first-line treatment
                                                                            for chronic pain, particularly
  arthritis and lower back pain.

         78.     In addition, Purdue misleadingly
                                                         promoted OxyContin as being uni
                                                                                                que among
  opioids in providing 12 continuous
                                          hours of pain relief with one dos
                                                                               e. In fact, OxyContin does
  not last for 12 hours — a fact tha
                                    t Purdue has known at all relevan
                                                                           t times. According to Purdue's
 own research, OxyContin wears off
                                          in under six hours in one quarter
                                                                               of patients and in under 10
 hours in more than half. This is bec
                                     ause OxyContin tablets release app
                                                                                 roximately .40% of their
 active medicine immediately, afte
                                       r which release tapers. This trigger
                                                                            s a powerful initial response,
 but provides little or no pain reli
                                        ef at the end of the dosing period
                                                                                , when less medicine is
 released. This phenomenon is kno
                                       wn as "end of dose" failure, and the
                                                                                FDA found in 2008 that a
 "substantial number" of chronic
                                       pain patients taking OxyContin
                                                                      exp        erience it. This not only
 renders Purdue's promise of 12 hou
                                        rs of relief false and negligent, it also
                                                                                    makes OxyContin more
 dangerous because the declining
                                       pain relief patients experience tow
                                                                               ard the end of each dosing
 period drives them to take more
                                        OxyContin before the next dos
                                                                              ing period begins, quickly
 increasing the amount of drug the
                                   y are tak   ing and spurring growing dependenc
                                                                                         e.
        79.  Purdue's competitors were aw
                                           are of this problem. For examp
                                                                          le, Endo ran
 advertisements for Opana ER
                             referring to "real" 12-hour dos
                                                             ing. Nevertheless, Purdue



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  negligently promoted OxyContin
                                      as if it were effective for a full 12
                                                                              hours. Indeed, Purdue's sales
 representatives continue to tell doc
                                     tors that OxyContin lasts a full 12
                                                                               hours.
          80.   Cephalon negligently marketed
                                                       its opioids Actiq and Fentora for
                                                                                             chronic pain
 even though the FDA has expres
                                      sly limited their use to the treatme
                                                                              nt of cancer pain in opioid-
 tolerant individuals. Both Actiq
                                     and Fentora are extremely pow
                                                                        erful fentanyl-based IR opioids.
 Neither is approved for or has
                                   been shown to be safe or effect
                                                                       ive for chronic pain. Indeed, the
 FDA expressly prohibited Cepha
                                      lon from marketing Actiq for any
                                                                               thing but cancer pain, and
 refused to approve Fentora for
                                     the treatment of chronic pain
                                                                        because of the potential harm,
 including the high risk of "seriou
                                     s and life-threatening adverse eve
                                                                              nts" and abuse — which are
 greatest in non-cancer patien
                                   ts. The FDA also issued a Pu
                                                                        blic Health Advisory in 2007
 emphasizing that Fentora should
                                      only be used for cancer patients
                                                                       wh       o are opioid-tolerant and
 should not be used for any other
                                    conditions, such as migraines, pos
                                                                           t-operative pain, or pain due
 to injury.

         81.    Despite this, Cephalon conduc
                                                       ted and continues to conduct
                                                                                          a well-funded
campaign to promote Actiq and
                                     Fentora for chronic pain and oth
                                                                          er non-cancer conditions for
which it was not approved, app
                                  ropriate, or safe. As part of this
                                                                       campaign, Cephalon used CMEs,
speaker programs, KOLs, journa
                              l supplements, and detailing by
                                                                        its sales representatives to give
doctors the false impression tha
                                  t Actiq and Fentora are safe and
                                                                       effective for treating non-cance
                                                                                                        r
pain.. For example: (a) Cephalon
                                     paid to have a CME it sponsored Op
                                                                    ,   io id-Based Management
of Persistent and Breakthrough
                                   Pain, published in a supplement of
                                                                      Pai      n Medicine News in 2009.
The CME instructed doctors tha
                                    t "clinically, broad classification
                                                                          of pain syndromes as either
cancer or noncancer-related has
                                   limited utility" and recommende
                                                                       d Actiq and Fentora for patients
with chronic pain; (b) Cephalon'
                                   s sales representatives set up hun
                                                                         dreds of speaker programs for



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   doctors, including many non-oncologists,
                                            whi     ch promoted Actiq and Fentora for the trea
                                                                                                    tment of •
   non-cancer pain; and (c) in December 201
                                                1, Cephalon widely disseminated a journal
                                                                                               supplement .
   entitled "Special Report: An Integrat
                                        ed Risk Evaluation        and Mitigation Strategy for Fentonyl
   Buccal Tablet (FENTORA) and Ora
                                   l Transmucosal Fentanyl Citrate (AC
                                                                       TIQ)"                             to
   Anesthesiology News, Clinical Oncology
                                          News,           and Pain Medicine News — three pub
                                                                                             lications •
   that are sent to thousands of anesthesiolo
                                                 gists and other medical professionals. The
                                                                                                    Special
   Report openly promotes Fentora for "multipl
                                               e    causes of pain" — and not just cancer pain
                                                                                                .
                 Cephalon's negligent marketing gave doc
                                                                 tors and patients the false impression
   that Actiq and Fentora were not only safe
                                                 and effective for treating chronic pain, but
                                                                                                were also
   approved by the FDA for such uses.

                 Purdue unlawfully and unfairly failed to
                                                                 report or address illicit and unlawful
  prescribing of its drugs, despite knowing
                                                about it for years. Purdue's sales represen
                                                                                             tatives have
  maintained a database since 2002 of doct
                                                ors suspected of inappropriately prescrib
                                                                                           ing its drugs.
  Rather than report these doctors to state
                                                 medical boards or law enforcement auth
                                                                                              orities (as
  Purdue is legally obligated to do) or cease
                                                marketing to them, Purdue used the list to
                                                                                             demonstrate
  the high rate of diversion of OxyContin —
                                                the same OxyContin that Purdue had prom
                                                                                              oted as less
  addictive — in order to persuade the FDA
                                                to bar the manufacture and sale of generic
                                                                                          . copies of the
  drug because the drug .was too likely to be
                                                 abused. In an interview with the Los Angeles
                                                                                              Times,
  Purdue's senior compliance officer acknowl
                                                  edged that in five years of investigating susp
                                                                                                     icious
  pharmacies, Purdue failed to take action —
                                             even whe        re Purdue employees personally witnesse
                                                                                                         d
  the diversion of its drugs. The same was
                                                true of prescribers; despite its knowledge
                                                                                                of illegal
  prescribing, Purdue did not report until year
                                                   s after law enforcement shut down a Los Ang
                                                                                      .        eles
  clinic that prescribed more than 1.1 million
                                               Oxy    Contin tablets and that Purdue's district man
                                                                                                      ager



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  described internally as "an organized drug
                                                ring." In doing so, Purdue protected its own
                                                                                                profits at
  the expense of public health and safety.

                 The State of New York's settlement with Purd
                                                                     ue specifically cited the company
  for failing to adequately address suspiciou
                                                s prescribing. Yet, on information and belie
                                                                                                f, Purdue
  continues to profit from the prescriptions of
                                                  such prolific prescribers.

                 Like Purdue, Endo has been cited for its failu
                                                                    re to set up an effective system for
  identifying and reporting suspicious prescribi
                                                   ng. In its settlement agreement with Endo, the
                                                                                                     State
  of New York found that Endo failed to requ
                                                    ire sales representatives to report signs of
                                                                                                   abuse,
  diversion, and inappropriate prescribing;
                                                  paid bonuses to sales representatives for
                                                                                                detailing
  presaribers who were subsequently arrested
                                                    or convicted for illegal prescribing; and faile
                                                                                                      d to
  prevent sales representatives from visiting
                                                   prescribers whose suspicious conduct had
                                                                                                   caused
  them to be placed on a no-call list.

                 As a part of their negligent marketing sche
                                                                  me, the Pharmaceutical Defendants
  identified and targeted susceptible prescrib
                                                  ers and vulnerable patient populations in Ten
                                                                                                   nessee.
  For example, these Defendants focused their
                                                    negligent marketing on primary care doctors,
                                                                                                     who
  were more likely to treat chronic pain patie
                                                  nts and prescribe them drugs, but were less
                                                                                                likely to
  be educated about treating pain and the risks
                                                   and benefits of opioids and therefore more
                                                                                                likely to
  accept Defendants' misrepresentations.

                 The Pharmaceutical Defendants, both indi
                                                                    vidually and collectively, made,
  promoted, and profited from their misrepre
                                                sentations about the risks and benefits of opio
                                                                                                   ids for
  chronic pain .even though they knew that their
                                                     misrepresentations were false and negligen
                                                                                               t. The
  history of opioids, as well as research and
                                                clinical experience over the last 20 years, esta
                                                                                                 blished
  that opioids were highly addictive and resp
                                                     onsible for a long list of very serious adv
                                                                                                     erse



                                                     31
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  outcomes. The FDA and other
                                     regulators warned these Defen
                                                                      dants of this, and these Defen
                                                                                                       dants
  had access to scientific studie
                                      s, detailed prescription data,
                                                                        and reports of adverse events
                                                                                                              ,
  including reports of addiction,
                                     hospitalization, and deaths —
                                                                       all of which made clear the har
                                                                                                         ms
  from long-term opioid use and
                                    that patients are suffering from
                                                                       addiction, overdoses, and death
                                                                                                         in
  alarming numbers. More recent
                                     ly, the FDA and CDC have issu
                                                                        ed pronouncements based on
                                                                                                        the
  medical evidence that conclusiv
                                     ely expose the known falsity of
                                                                        Defendants' misrepresentations,
  and Endo and Purdue have rec
                                    ently entered agreements prohib
                                                                        iting them from making some
                                                                                                         of
  the same misrepresentations des
                                     cribed in this Complaint in Ne
                                                                    w -York.
         88.    Moreover, at all times relevan
                                                  t to this Complaint, the Pharm
                                                                                     aceutical Defendants
  took steps to avoid detection
                                     of and to fraudulently concea
                                                                       l their negligent marketing and
 unlawful, unfair, and fraudulen
                                    t conduct. For example, the Pha
                                                                       rmaceutical Defendants disgui
                                                                                                       sed
 their own role in the negligent
                                     marketing of chronic opioid
                                                                 the     rapy by funding and working
 through third parties like Front
                                    Groups and KOLs. These Defen
                                                                       dants purposefully hid behind
                                                                                                        the
 assumed credibility of these ind
                                     ividuals and organizations and
                                                                    rel    ied on them to vouch for the
 accuracy and integrity of Defen
                                    dants' false and negligent statem
                                                                        ents about the risks and benefit
                                                                                                         s
 of long-term opioid use for chr
                                onic pain.

        89.     The Pharmaceutical Defendan
                                                 ts also never disclosed their rol
                                                                                   e in shaping, editing,
 and approving the content of
                                    information and materials dis
                                                                   seminated by these third par
                                                                                                    ties.
 These Defendants exerted con
                                    siderable influence on these
                                                                    • promotional and "educatio
                                                                                                    nal"
 materials in emails, correspon
                               dence, and meetings with KO
                                                                   Ls, fake independent groups,
                                                                                                    and
 public relations companies
                               that were not, and have not
                                                                yet become, public. For exa
                                                                                           mple,
 painknowledge.org, which is run
                                      by the NIPC, did not disclo
                                                                       se Endo's involvement. Other
 Pharmaceutical Defendants, suc
                                h as     Purdue and Janssen, ran similar
                                                                            websites that masked their



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  own direct role.

                 Finally, the Pharmaceutical Defendants manipulat
                                                                       ed their promotional materials
  and the scientific literature to make it appear
                                                     that these items were accurate, truthful, and

  supported by objective evidence when they were
                                                     not. These Defendants distorted the meaning or

  import of studies they cited and offered them as
                                                        evidence for propositions the studies did not

  support. The lack of support for these Defendan
                                                         ts' negligent messages was not apparent to
  medical professionals who relied upon them in maki
                                                     ng     treatment decisions.

                 Thus, the Pharmaceutical Defendants successfu
                                                                      lly concealed from the medical
  community, rnunicipalities, patients, and health care
                                                          payers facts sufficient to arouse suspicion of
  the Claims that the Plaintiffs now assert. Plain
                                                   tiffs did not know of the existence or scope of

  Defendants' industry-wide fraud and could not have
                                                          acquired such knowledge earlier through the
  exercise of reasonable diligence.

               . The Pharmaceutical Defendants' misrepresenta
                                                                   tions deceived doctors and patients •
  about the risks and benefits of long-term opioid
                                                     use. Studies also reveal that many doctors and
  patients are not aware of or do not understand
                                                   these risks and benefits. Indeed, patients often

  report that they were not warned they might beco
                                                        me addicted to opioids prescribed to them. As
  reported in January 2016, 2015 survey Of more
                                                       than 1,000 opioid patients found that 4 Out of
  10 were not told opioids were potentially addictive.

                 The Pharmaceutical Defendants' negligent mark
                                                               eting scheme caused and
  continues to cause doctors in Tennessee to presc
                                                     ribe opioids for chronic pain conditions such as

  back pain, headaches, arthritis, and fibrornyalgia.
                                                        Absent these Defendants' negligent marketing

  scheme, these doctors would not have prescribed
                                                        as many opioids. These Defendants' negligent
  marketing scheme also caused and continues to
                                                       cause patients to purchase and use opioids for



                                                  33
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 their chronic pain believing they
                                        are safe and effective. Absent the
                                                                             se Defendants' negligent
 marketing scheme, fewer patients
                                        would be using opioids long-term
                                                                             to treat chronic pain, and
 those patients using opioids would
                                       be using less of them.

                The Pharmaceutical Defendants' neg
                                                         ligent marketing has caused and con
                                                                                                  tinues to
 cause the prescribing and use of
                                  opi     oids to explode. Indeed, this drama
                                                                                    tic increase in opioid
 prescriptions and use corresponds
                                   wit     h the dramatic increase in Defend
                                                                                   ants' spending on their
 negligent marketing scheme. Defend
                                          ants' spending on opioid marketing
                                                                                   totaled approximately
 $91 million in 2000. By 2011, that
                                       spending had tripled to $288 million
                                                                              .
                The escalating number of opioid
                                                        prescriptions written by doctors
                                                                                               who were
 deceived by the Pharmaceutical
                                      Defendants' negligent marketing
                                                                             scheme is the cause of a
 correspondingly dramatic increase
                                   in     opioid addiction, overdose, and dea
                                                                                   th throughout the U.S.
 and Tennessee. In August 2016, the
                                        U.S. Surgeon General published an
                                                                                  open letter to be sent to
 physicians nationwide, enlisting the
                                         ir help in combating this "urgent
                                                                             health crisis" and linking
 that crisis to negligent marketing
                                      . He wrote that the push to aggress
                                                                             ively treat pain, and the
 "devastating" results that followed,
                                        had "coincided with heavy marke
                                                                           ting to doctors . . . [m]any
 of [whom] were even taught — inco
                                        rrectly — that opioids are not addicti
                                                                                  ve when prescribed for
 legitimate pain."

                Scientific evidence demonstrates a
                                                       strong correlation between opioid pre
                                                                                                scriptions
 and opioid abuse. In a 2016 report,
                                        the CDC explained that "[o]pioid
                                                                             pain reliever prescribing
 has quadrupled since 1999 and has
                                         increased in parallel with [opioid
                                                                                  ] overdoses." Patients
 receiving prescription opioids for
                                      chronic pain account for the majori
                                                                          ty      of overdoses. For these
 reasons, the CDC concluded that effo
                                     rts to rein in the prescribing of opi
                                                                             oids for chronic pain are
 critical "to reverse the epidemic
                                      of opioid drug overdose deaths and
                                                                               prevent opioid-related



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 morbidity."

         97.     Contrary to the Pharmaceutical Defend
                                                                ants' misrepresentations, most opioid
 addiction begins with legitimately pres
                                         cribed opioids, and therefore could hav
                                                                                 e been           prevented
 had Defendants' representations to prescrib
                                                  ers been truthful. In 2011, 71% of people
                                                                                                who abused
 prescription opioids got them through frien
                                             ds      or relatives, not from pill mills, drug deal
                                                                                                    ers or the •
 internet. Numerous doctors and substanc
                                            e abuse counselors note that many of thei
                                                                                          r patients, who
 misuse or abuse opioids started with legi
                                             timate prescriptions, confirming the imp
                                                                                          ortant role that
 doctors' prescribing habits have played in
                                               the opioid epidemic.

                 Opioid-related cases of NAS are rising
                                                              at such a rapid pace that cities, countie
                                                                                                            s
 and health care systems are unable to keep
                                                up logistically.

                  DISTRIBUTOR DEFENDANTS' WR
                                                               ONGFUL CONDUCT
                 The supply chain for prescription opio
                                                               ids begins with the manufacture and
 packaging of the pills. The manufacture
                                                rs then transfer the pills to distribution
                                                                                               companies,
 including Defendants Cardinal, McKesso
                                        n, and        AmerisourceBergen, which together acco
                                                                                                     unt for
 85-90% of all revenues from drug distribut
                                               ion in the United States, an estimated $37
                                                                                               8.4 billion in
 2015. The distributors then supply opio
                                                  ids to pharmacies, doctors, and other
                                                                                                healthcare
 providers, which then dispense the drugs
                                          to pati    ents.

                Manufacturer Defendants and Distributor
                                                               Defendants share the responsibility for
 controlling the availability of prescrip
                                           tion opioids. Opioid "diversion" occurs
                                                                                          whenever the
 supply chain of prescription opioids is
                                           broken, and the drugs are transferred from
                                                                                               a legitimate
 channel of distribution or use, to an illeg
                                              itimate channel of distribution or use. Div
                                                                                                ersion can
 occur at any point in the opioid supply chai
                                               n.

                For example, at the wholesale level of
                                                             distribution, diversion occurs whenever
 distributors allow opioids to be lost or stole
                                                n in transit, or when distributors fill susp
                                                                                            icious orders
                                                     35
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  of opioids from buyers, retailers,
                                         or prescribers. Suspicious orders
                                                                               include orders of unusually
  large size, orders that are dispro
                                     portionately large in compariso
                                                                      n to the population of a
  community served by the pharmacy,
                                      orders that deviate from a normal
                                                                        pattern, and/or orders of
  unusual frequency and duration.

         102     Diversion occurs through the use
                                                         of stolen or forged prescriptions at
                                                                                                pharmacies,
  or the sale of opioids without prescri
                                        ptions, including patients seeking pre
                                                                                   scription opioids under
  false pretenses.

                 Opioid diversion occurs in the Un
                                                         ited States at an alarming rate. In
                                                                                               recent years,
  the number of people who take pre
                                         scription opioids for non-medical
                                                                               purposes is greater than the
  number of people who use cocaine
                                        , heroin, hallucinogens, and inhalan
                                                                               ts combined.
                 Every year, thousands of people
                                                          in Tennessee misuse and abuse
                                                                                                opioid pain
 relievers that can lead to addiction,
                                         neonatal abstinence syndrome, ove
                                                                               rdose and death.
                 Within the last 20 years, the abu
                                                         se of prescription narcotic pain reli
                                                                                                  evers has
 emerged as a public health crisis in
                                         the United States.

                 The dramatic rise in heroin use in
                                                          recent years is a direct result of pre
                                                                                                   scription
 opioid diversion. The strongest risk
                                         factor for a heroin use disorder is pre
                                                                                  scription opioid use. In
 one national .study covering the per
                                          iod 2008 to 2010, 77.4% of the par
                                                                                 ticipants reported using
 prescription opioids before initiati
                                      ng heroin use. Another study reveale
                                                                                 d that 75% of those who
 began their opioid abuse in the 200
                                        0s started with prescription opioid.
                                                                               The CDC has reported that
 people who are dependent on prescri
                                          ption opioid painkillers are 40 tim
                                                                                es more likely to become
 dependent on heroin.

                Plaintiffs and the Class have bee
                                                         n significantly damaged by the effe
                                                                                                  cts of the
 Distributor Defendants' opioid div
                                    ersion.



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                Distributor Defendants have a dut
                                                         y to exercise reasonable care under
                                                                                                   the
 circumstances. This involves a dut
                                           y not to create a foreseeable risk
                                                                                 of harm to others.
 Additionally, one who engages in affi
                                          rmative conduct, and thereafter realizes
                                                                                    or should realize
 that such conduct has created an unreason
                                             able risk of harm to another, is under
                                                                                    a duty to exercise
 reasonable care to prevent the threaten
                                         ed harm.

                In addition to having common law
                                                          duties, the Distributor Defendants
                                                                                                  are
 governed by the statutory requirements
                                            of the Controlled Substances Act ("C
                                                                                  SA"), 21 U.S.C. §
 801 et seq. and its implementing regu
                                        lations. These requirements were enacted
                                                                                   to protect society
 from the harms of drug diversion. The
                                           Distributor Defendants' violations of
                                                                                 these requirements
 show that they failed to meet the rele
                                         vant standard of conduct that society
                                                                                expects from them.
 The Distributor Defendants' repeated
                                        , unabashed, and prolific violations of
                                                                                 these requirements
 show that they have acted in total reck
                                         less disregard.

              • By violating the CSA, the Distributor
                                                        Defendants are also liable under the law
                                                                                                    of
 Tennessee as herein alleged.

                The CSA creates a legal framewo
                                                     rk for the distribution and dispens
                                                                                           ing of
 controlled substances. Congress passed
                                          the CSA partly out of a concern about
                                                                                  "the widespread
 diversion of icontrolled substances]
                                       out of legitimate channels into the illeg
                                                                                 al market." H.R.
 Rep. No. 91-1444, 1970 U.S.C.C.A.N
                                      . at 4566, 4572.

                Accordingly, the CSA acts as a sys
                                                   tem of checks and balances from
                                                                                   the
 manufacturing level through delivery
                                        of the pharmaceutical drug to the pati
                                                                               ent or ultimate user.
 Every person or entity that manufa
                                        ctures, distributes, or dispenses opi
                                                                                 oids must obtain a
"registration" with the DEA. Registra
                                         nts at every level of the supply chain
                                                                                  must' fulfill their
 obligations under the CSA, otherwise
                                         controlled substances move from the
                                                                                  legal to the illicit



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  marketplace, and there is enormous potential
                                                  for harm to the public.

         113. All opioid distributors are required to
                                                             maintain effective controls against opioid
  diversion. They are also required to create and
                                                         use a system to identify and report downstre
                                                                                                       am
  suspicious orders of controlled substances to
                                                   law enforcement. Suspicious orders include
                                                                                                   orders
  of unusual size, orders deviating substantially
                                                     from the normal pattern, and orders of unus
                                                                                                      ual
  frequency. To comply with these requirements
                                                     , distributors must know their customers, repo
                                                                                                        rt
  suspicious orders, conduct due diligence
                                                 , and terminate orders if there are indicatio
                                                                                              ns of
  diversion.

         114. To prevent unauthorized users from
                                                          obtaining opioids, the CSA creates a
 distribution monitoring system for controlle
                                                d substances, including registration .and track
                                                                                                   ing
 requirements imposed upon anyone authoriz
                                                  ed to handle controlled substances. The DEA
                                                                                                      's
 Automation of Reports and Consolidation
                                                Orders System ("ARCOS") is an automate
                                                                                               d drug
 reporting system that records and monitors
                                               the flow of Schedule II controlled substances
                                                                                                 from
 point of manufacture through commercial
                                                 distribution channels to point of sale. ARC
                                                                                                   OS
 accumulates data on distributors' controlled subs
                                                   tances, acquisition transactions, and distributi
                                                                                                    on
 transactions, which are then summarized into
                                                 reports used by the DEA to identify any dive
                                                                                                 rsion
 of controlled substances into illicit channels
                                                    of distribution. Each person or entity that
                                                                                                     is
 registered to distribute ARCOS Reportable
                                                controlled substances must report acquisitio
                                                                                                n and
 distribution transactions to the DEA.

         115. Acquisition and distribution transact
                                                    ion reports must .provide data on each
 acquisition to inventory (identifying whether
                                                    it is, e.g., by purchase or transfer, return from
                                                                                                        a
 customer, or supply by the Federal Government)
                                                         and each reduction .from inventor)°, (identifying
 whether it is, e.g., by sale or transfer, theft, dest
                                                      ruction or seizure by Government agencies)
                                                                                                      for



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  each ARCOS Reportable controlled substanc
                                                   e. 21 U.S.C. § 827(d) (1); 21 C.F.R. §§ 1304
                                                                                               .33(e),
  (d).. Inventory that has been lost or stolen
                                                 must also be reported separately to the DEA
                                                                                                  within
  one business day of discovery of such loss or
                                                   theft.

                 In addition to filing acquisition/distribution
                                                                  transaction reports, each registrant is
  required to maintain a complete, accurate,
                                                 and current record of each substance manufac
                                                                                                  tured,
  imported, received, sold, delivered, exported
                                                  , or otherwise disposed of. 21 U.S.C.. §§ 827(
                                                                                                   a)(3),
  1304.21(a), 1304.22(b). It is unlawful
                                            for any person to negligently fail to abid
                                                                                       e by the
  recordkeeping and reporting requirements.

                 To maintain registration, distributors must also
                                                                    maintain effective controls against
  diversion of controlled substances into othe
                                                  r than legitimate medical, scientific and indu
                                                                                                   strial
  channels. When determining if a distribu
                                                 tor has provided effective controls, the
                                                                                              DEA
  Administrator refers to the security requirem
                                                 ents set forth in §§ 130 1.72-1301.76 as stan
                                                                                               dards
  for the physical security controls and oper
                                              ating procedures necessary to prevent dive
                                                                                          rsion. 21
  CFR § 1301.71.

                 For years the Distributor Defendants
                                                      have known of the problems and
  consequences of opioid diversion in the supp
                                                  ly chain, and have committed repeated viola
                                                                                                 tions of
  the laws and regulations of the United Stat
                                                 es as cited above consequently making them
                                                                                                  liable
  under Tennessee law.

                 To combat the problem of opioid diversion
                                                                  , the DEA has provided guidance to
  distributors on the requirements of suspiciou
                                                 s order reporting in numerous venues, publ
                                                                                               ications,
  documents, and final agency actions. Since
                                                 2006, the DEA has conducted one-on-one
                                                                                               briefings
  with distributors regarding their downstream
                                                   customer sales, due diligence responsibilit
                                                                                                ies, and
  legal and regulatory responsibilities (includi
                                                  ng the responsibility to know their custome
                                                                                             rs and



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 report suspicious orders to .the DEA). The
                                                 DEA provided distributors with data on
                                                                                             controlled
 substance distribution patterns and trends,
                                               including data on the volume of orders, sfre
                                                                                                 quency of
 orders, and percentage of controlled vs. non
                                                  -controlled purchases. The distributors wer
                                                                                                   e given
 case studies, legal findings against othe
                                             r registrants, and ARCOS profiles of thei
                                                                                           r customers
 whose previous purchases may have
                                           reflected suspicious ordering patterns
                                                                                         . The DEA
 emphasized the "red flags" distributors shou
                                              ld look for to identify potential diversion.

         120. Since 2007, the DEA has hosted no
                                                          less than five conferences to provide opio
                                                                                                        id
 distributors with updated information
                                           about diversion trends. The Defendant
                                                                                          Distributors
 attended at least one of these conferences
                                                , which allowed for questions and discussi
                                                                                                 ons.. The
 DEA has participated in numerous meeting
                                                 s and events with the legacy Healthcare Dist
                                                                                                  ribution
 Management Association (HDMA), now
                                    known                as the Healthcare Distribution Alliance (HA
                                                                                                      D),
 an industry trade association for wholesa
                                                  lers and distributors. DEA representativ
                                                                                                  es have
 provided guidance to the association conc
                                           erning suspicious order monitoring, and the
                                                                                            association
 has published guidance documents for its
                                                members on suspicious order monitorthg,
                                                                                                 reporting
 requirements, and the diversion of controlle
                                               d substances.

                On September 27, 2006 and December 27,
                                                                   2007, the DEA Office of Diversion
 Control sent letters to all registered dist
                                                ributors providing guidance on suspicio
                                                                                                 us order
 monitoring of controlled substances and
                                           the responsibilities and obligations of the
                                                                                           registrant to
 conduct due diligence on controlled subs
                                                 tance customers as part of a program to
                                                                                                 maintain
 effective controls against diversion.

              • The September 27, 2006 letter reminde
                                                              d registrants that they were required by
 law tO exercise due diligence to avoid fillin
                                                g orders that could be diverted into the illic
                                                                                              it market.
 The DEA explained that as part of the lega
                                                 l obligation to maintain effective controls
                                                                                                  against



                                                    40
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   diversion, the distributor was required
                                             to exercise due care in confirming the
                                                                                        legitimacy of each
  and every order prior to filling. It
                                           also described circumstances that
                                                                                could be indicative of
  diversion including ordering excessi
                                            ve quantities of a limited variety of
                                                                                    controlled substances
  while ordering few if any other drugs;
                                              disproportionate ratio of ordering con
                                                                                        trolled substances
  versus non-controlled prescription dru
                                            gs; the ordering of excessive quantities
                                                                                       of a limited variety
  of controlled substances in combina
                                           tion with lifestyle drugs; and orderin
                                                                                    g the same controlled
  substance from multiple distributors
                                       . The lett    er went on to describe what questio
                                                                                              ns should be
  answered by a customer when atte
                                            mpting to make a determination if
                                                                                      the order is indeed
  suspicious.

          123. On December 27, 2007, the Off
                                                   ice of Diversion Control sent a follow-
                                                                                               up letter to
  DEA registrants providing guidan
                                   ce and         reinforcing the legal requirements
                                                                                           outlined in the
  September 2006 correspondence. The
                                             letter reminded registrants that suspicio
                                                                                        us orders must be
  reported when discovered and monthly
                                       tran       saction reports of excessive purchases
                                                                                             did not meet
  the regulatory criteria for suspicious
                                           order reporting. The letter also advised
                                                                                      registrants that they
  must perform an independent analysi
                                      s of      a suspicious order prior to the sale to
                                                                                          determine if the
  controlled substances would likely
                                            be diverted, and that filing a suspic
                                                                                    ious order and then
  completing the sale does not absolve
                                            the registrant from legal responsibil
                                                                                    ity. Finally, the letter
  directed the registrant community
                                           to review a recent DEA action that
                                                                                    addressed criteria in
  determining suspicious orders and
                                            their obligation to maintain effectiv
                                                                                      e controls against
  diversion.

         124. The Distributor Defendants'
                                                 own industry group, the Healthcare
                                                                                             Distribution
  Management Association, publish
                                      ed Industry Compliance Guideline
                                                                            s titled "Reporting
  Suspicious Orders and Preventing Div
                                       ersion of Controlled Substances," emp
                                                                             hasizing the critical



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  role of each member of the supply chain in
                                                 distributing controlled substances.

                 These industry guidelines stated: "At the
                                                                 center of a .sophisticated supply chain,
  distributors are uniquely situated to perform
                                                  due diligence in order to help support the
                                                                                               security of
  controlled substances they deliver to their
                                                customers."

                 Opioid distributors have admitted to the
                                                                magnitude of the problem and, at least
  superficially, their legal responsibilities
                                              to prev       ent diversion. They have made stateme
                                                                                                      nts
  assuring the public they are supposedly unde
                                               rtak   ing a duty to curb the opioid epidemic.

                 For example, a Cardinal executive clai
                                                        med that Cardinal uses "advanced
  analytics" to .monitor its supply chain. He
                                                 further extolled that Cardinal was being "as
                                                                                                effective
  and efficient as possible in constantly mon
                                                   itoring, identifying, and eliminating any
                                                                                                  outside
  criminal activity" (emphasis added).

                 McKesson has publicly stated that it has
                                                                  a "best-in-class controlled substance
 monitoring program to help identify susp
                                                 icious orders" and claimed it is "deeply
                                                                                              passionate
 about curbing the opioid epidemic in our Cou
                                                   ntry."

                 These assurances, on their face, of identifyi
                                                                   ng and eliminating criminal activity
 and curbing the opioid epidemic create a
                                                duty for the Distributor Defendants to take
                                                                                               reasonable
 measures to do just that.

                 In addition to the obligations impose
                                                       d by law, 'through their own words,
 representations, and actions, the Distribu
                                                tor Defendants have voluntarily undertaken
                                                                                                a duty to
 protect the public at large against diversio
                                                  n from their supply chains, and to curb
                                                                                               the opioid
 epidemic. In this voluntary undertaking
                                                 , the Distributor Defendants have mis
                                                                                            erably and
 negligently failed.

                The Distributors Defendants have knowin
                                                                  gly or negligently allowed diversion.



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 Their wrongful conduct and inaction hav
                                               e resulted in numerous civil fines and
                                                                                        other penalties
 recovered by state and federal agencies
                                           - including actions by the DEA related
                                                                                     to violations of the
 Controlled Substances Act.

         132.    In 2008, Cardinal paid a $34 million
                                                          penalty to settle allegations about opio
                                                                                                      id
 diversion taking place at seven of its war
                                              ehouses in the United States. In 2012, Car
                                                                                          dinal reached
 an administrative settlement with the DEA
                                               relating to opioid diversion between 200
                                                                                          0 and 2012 in
 multiple states. In December 2016, a
                                           Department of Justice press release ann
                                                                                       ounced a multi-
 million dollar settlement with Cardina
                                              l for violations of the Controlled Sub
                                                                                       stances Act. In
 connection with the investigations of Car
                                           dina   l, the DEA uncovered evidence that Car
                                                                                            dinal's own
 investigator warned Cardinal against selli
                                             ng opioids to certain pharmacies.

         133. In May 2008, McKesson entered
                                                    into a settlement with the DEA on clai
                                                                                                ms that
 McKesson failed to maintain effectiv
                                            e controls against diversion of control
                                                                                       led substances.
 McKesson allegedly failed to report susp
                                             icious orders from rogue Internet pharma
                                                                                        cies around the
 Country, resulting in millions of doses
                                           of controlled substances being diverted
                                                                                  . McKesson agreed
 to pay a $13.25 million civil fine. McK
                                        esson also was supposed to implement
                                                                                      tougher controls
 regarding opioid diversion. McKes
                                          son utterly failed. McKesson's system
                                                                                       for detecting
 "suspicious Orders" from pharmacies
                                            was so ineffective and dysfunctional
                                                                                    that at one of its
 facilities in Colorado between 2008 and
                                             2013, it filled more than 1.6 million orde
                                                                                        rs, for tens of
 millions of controlled substances, but
                                          it reported just 16 orders as suspicious,
                                                                                    all from a single
 consumer. In 2015, McKesson was in
                                         the middle of allegations concerning its
                                                                                   "suspicious order
 reporting practices for controlled sub
                                          stances." In early 2017, it was reported
                                                                                     that McKesson
 agreed to pay $150 million to the gov
                                          ernment to settle certain opioid diversio
                                                                                     n claims that it
 allowed drug diversion at 12 distribution
                                            centers in 11 states.



                                                   43
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          134. In 2007, AmerisourceBergen lost its
                                                           license to send controlled substances from
                                                                                                          a
  distribution center amid allegations that it
                                                   was not controlling shipments of prescrip
                                                                                            tion opioids
  to Internet pharmacies. Again in 2012, Am
                                                   erisourceBergen was implicated for failing
                                                                                                 to protect
  against diversion of controlled substances
                                             into       non-medically necessary channels. It has
                                                                                                      been
  reported that the U.S. Department of Justice
                                                    has subpoenaed AmerisourceBergen for docu
                                                                                                     ments
  in connection with a grand jury proceeding
                                                   seeking information on the company's ."pro
                                                                                                  gram for
  controlling and monitoring diversion of
                                                   controlled substances into channels othe
                                                                                                 r than for
  legitimate medical, scientific and industria
                                               l purposes."

                  Relying upon state laws and regulation,
                                                                various state boards of pharmacy have
  directly disciplined the wholesale distribu
                                                    tors of prescription opioids for failure to
                                                                                                  prevent
  diversion, a duty recognized under state laws
                                                     and regulations.

                  Although distributors have been penalized
                                                                  by law enforcement authorities, these
  penalties have not changed their conduc
                                                   t. They pay fines as a cost of doing busi
                                                                                                ness in an
  industry that generates billions of dollars in
                                                   revenue and profit.

                  The Distributor Defendants have the abil
                                                                ity and owe the duty to prevent opioid
  diversion, which presented a known or fore
                                                 seeable risk of damage to Plaintiffs and the
                                                                                                Class.
                  The Distributor Defendants have supplied
                                                                    massive quantities of prescription
  opioids in Tennessee with the actual or cons
                                                    tructive knowledge that the opioids were
                                                                                                ultimately
  being consumed by citizens for non-medica
                                                     l purposes. Many of these shipments shou
                                                                                                   ld have
  been stopped or investigated as suspicious
                                                   orders, but the Distributor Defendants negl
                                                                                                igently or
  intentionally failed to do so.

                 Each Distributor Defendant knew or shou
                                                                 ld have known that the amount of the
  opioids that it allowed to flow into Tenness
                                                   ee was far in excess of what could be cons
                                                                                                 umed for



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  medically-necessary purposes in the relevant
                                                  communities (especially given that each Dist
                                                                                              ributor
  Defendant knew it was not the only opioid distr
                                                     ibutor servicing those communities)..

          140. The Distributor Defendants negligen
                                                             tly or intentionally failed to adequately
  control their supply lines to prevent diversion
                                                     . A reasonably-prudent distributor of Schedule
                                                                                                        II
  controlled substances would have anticipate
                                                     d the danger of opioid diversion and protecte
                                                                                                        d
  against it by, for example, taking greater care
                                                       in hiring, training, and supervising employe
                                                                                                      es;
  providing greater oversight, security, and cont
                                                   rol of supply channels; looking more closely
                                                                                                   at the
  pharmacists and doctors who were purchasi
                                                  ng large quantities of commonly-abused opio
                                                                                                   ids in
  amounts greater than the populations in those
                                                   areas would warrant; investigating demographic
                                                                                                      or
  epidemiological facts concerning the increasin
                                                 g        demand for narcotic painkillers in Tennesse
                                                                                                        e;
  providing information to pharmacies and retai
                                                    lers about opioid diversion; and in general, simp
                                                                                                       ly
  following applicable statutes, regulations, prof
                                                    essional standards, and guidance from governme
                                                                                                       nt
  agencies and using a little bit of common sens
                                                  e.

                 On information and belief, the Distributor Defe
                                                                       ndants made little to no effort to
  visit the pharmacies servicing patients and
                                                     citizens of Tennessee to perform due dilig
                                                                                                   ence
  inspections to ensure that the controlled subs
                                                    tances the Distributors Defendants had furn
                                                                                                   ished
  were not being diverted to illegal uses.

                 On information and belief, the compensation
                                                                   the Distributor Defendants provided
  to certain of their employees was affected,
                                                  in part, by the volume of their sales of opio
                                                                                               ids to
  pharmacies and other facilities servicing the
                                                  patients and citizens of Tennessee, thus impr
                                                                                               operly
  creating incentives that contributed to and
                                                     exacerbated opioid diversion and the resu
                                                                                                   lting
  epidemic of opioid abuse.

                 It was reasonably foreseeable to the Distribu
                                                                   tor Defendants that their conduct in



                                                     45
•


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      flooding the consumer market of Ten
                                              nessee with highly-addictive opioid
                                                                                  s wou        ld allow opioids to
     fall into the hands of children, addicts
                                             , criminals, and other unintended use
                                                                                         rs.
                    It is reasonably foreseeable to the
                                                              Distributor Defendants that, when
                                                                                                      unintended
     users gain access to opioids, tragic
                                            preventable injuries will result, incl
                                                                                      uding neo-natal addiction
     and NAS.

                    The Distributor Defendants knew
                                                              or should have known that the opi
                                                                                                      oids being
     diverted from their supply chains wou
                                               ld create access to opioids by unauth
                                                                                         orized users, which, in
     turn, perpetuates the cycle of addicti
                                             on, demand, illegal transactions, eco
                                                                                        nomic ruin, and human
     tragedy.

                    The Distributor Defendants knew
                                                             or should have known that a substan
                                                                                                     tial amount
     of the opioids dispensed to patien
                                            ts and citizens of Tennessee were
                                                                                     being dispensed based on
     invalid or suspicious prescriptions.
                                            It is foreseeable that filling suspici
                                                                                   ous orders for opioids will
     cause harm to individual pharmacy
                                            customers, third-parties, Plaintiffs
                                                                                   and the Class.
                    The Distributor Defendants were
                                                             aware of widespread prescription
                                                                                                    opioid abuse
     of persons who would become pati
                                            ents in Tennessee, but they neverth
                                                                                     eless persisted in a pattern
     of distributing commonly abused and
                                              diverted opioids in geographic area
                                                                                       s-and in such quantities,
     and with such frequency- that the
                                             y knew or should have known the
                                                                                        se commonly abused
     controlled substances were not bein
                                            g prescribed and consumed for legi
                                                                                   timate medical purposes.
                   If any of the Distributor Defendants
                                                              adhered to effective controls to gua
                                                                                                      rd against
     diversion, the Class would have avo
                                         ided sign   ificant damages.

                   The Distributor Defendants made
                                                             substantial profits over the years bas
                                                                                                       ed on the
     diversion of opioids affecting Ten
                                            nessee. Their participation and coo
                                                                                       peration in a common
     enterprise has foreseeably caused
                                       damages to Plaintiffs and the Cla
                                                                         ss. The Distributor



                                                        46
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 Defendants knew full well that Pla
                                   intiffs and       the Class would be unjustly forced
                                                                                            to bear these
 injuries and damages.

                 The Distributor Defendants' intentio
                                                             nal distribution of excessive amoun
                                                                                                      ts of
 prescription opioids to communities
                                          showed an intentional or reckless disr
                                                                                  egard for Plaintiffs and
 the Class. Their conduct poses a con
                                           tinuing economic threat to the com
                                                                                 munities that must deal
 with ongoing needs of children afflicte
                                            d with NAS.

                                 CLASS ACTION ALLEGATION
                                                                         S
                 Plaintiffs seek to represent the followi
                                                            ng class of individuals:
        All Tennessee persons under the
                                                age of eighteen who were diagno
                                                                                       sed with neonatal
 abstinence syndrome (NAS) and who
                                            se birth mother (I) used opioids dur
                                                                                   ing gestation and (2)
 had a medical prescription for opio
                                       ids before or during the gestation per
                                                                                iod.
                 Excluded from the Class are chi
                                                 ldre        n of the Defendants and their off
                                                                                                     icers,
 directors, and employees, as well as
                                          the Court and its personnel.

                 Plaintiffs and all others similarly situ
                                                          ated are entitled to have this case mai
                                                                                                  ntained
 as a class action pursuant to the Ten
                                        nessee Rules of Civil Procedure for
                                                                               the following reasons:
                 The prerequisites for a class action
                                                            under Tennessee Rule of Civil Pro
                                                                                                    cedure
23.01 are met:

                        The class is so numerous that join
                                                                  der of all persons is impracticable
                                                                                                         .
Although the precise number of chil
                                       dren in the Class is currently unknow
                                                                                n, Plaintiffs believe that
the putative class is in the thousands.

                        There are common issues of law
                                                       and fact, particularly whether
Defendants' and their agents' policie
                                      s and      procedures that encouraged the con
                                                                                         tinued use and
abuse of opioids despite knowing the
                                          dangers caused harm to the Class.



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               . c.           Plaintiffs' claims are typical of the
                                                                      class. Plaintiffs' injuries are typical
                                                                                                                of
  the experience of the Class Members,
                                               having suffered personal injury and
                                                                                         increased health risks
  necessitating medical monitoring and
                                              future medical treatment that are typ
                                                                                         ical of the experience
  of the Class Members. Plaintiffs' inte
                                              rests are identical to and aligned wit
                                                                                         h those of other Class
  Members. Plaintiffs and the Class
                                            Members have suffered an array of
                                                                                        damages all stemming
  from the common trunk of facts and
                                             issues related to exposure to Defend
                                                                                        ants' manufacture and
  distribution of opioids.

                 d.           Plaintiffs will fairly and adequately
                                                                       represent and protect the interests
                                                                                                                of
  the class because:

                         i.          Plaintiffs have retained counsel exp
                                                                              erienced in the prosecution of
                        class action litigation who will ade
                                                                   quately represent the interests of
                                                                                                           the
                        class;

                                     Plaintiffs and counsel are aware of
                                                                            no conflicts of interest between
                        Plaintiffs and absent Class Members
                                                                      or otherwise that cannot be manage
                                                                                                                d
                       through the implementation of availab
                                                                      le procedures;

                                     Plaintiffs have, or can acquire, ade
                                                                              quate financial resources to
                       assure that the interests of the class
                                                                 will be protected; and

                       iv.           Plaintiffs are knowledgeable concern
                                                                               ing the subject matter of this
                       action and will assist counsel in the
                                                                 prosecution of this litigation.
         162. Further, any denial of liability
                                               and          defenses raised by the Defendant
                                                                                                   s would be
 applicable to all claims presented
                                           by all members of the class or can
                                                                                       otherwise be managed
 through available procedures.




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         163. . Defendants' conduct presents
                                                  predominant common factual questio
                                                                                                 ns. This class
 is bound together by the common fact
                                            ual questions relating to whether the
                                                                                          Defendants' tortious
 activities led to physicians over-subsc
                                             ription of opioids and created a div
                                                                                      ersionary market for
 opioids thus certification is proper
                                           under Tennessee Rule 23.03(4). Reg
                                                                                          ardless of whether
 Plaintiffs and the Class Members
                                  are          presenting individualized damage
                                                                                            s such as pain &
 suffering, they will present common
                                          liability proof that is the same for eac
                                                                                  h member of the Class.
 Across claim categories, Plaintiffs' com
                                             mon proof of Defendants' liability will
                                                                                             involve the same
 cast of characters, events, discovery,
                                          documents, fact witnesses, and experts
                                                                                      .
         164. The need for proof of Plainti
                                            ffs'      and Class Members' damages wil
                                                                                                  l not cause
 individual issues to predominate ove
                                           r common questions. The amounts
                                                                                     of economic and non-
 economic losses can be efficiently
                                    dem         onstrated either at trial or as part of
                                                                                              routine claims
 administration through accepted and
                                            court-approved methodologies set
                                                                                      forth in the Federal
 Manual for Complex Litigation wit
                                   h the        assistance of court-appointed person
                                                                                               nel, including
 Special Masters. Certain types or elem
                                             ents of damage explained below as
                                                                                           appropriate under
 Tennessee Rule of Civil Procedure
                                           23.02(3) are subject to proof usin
                                                                                     g aggregate damage
 methodologies or simply rote calculat
                                       ion     and summation on a class-wide basis
                                                                                             while individual
 damages may be determined via the
                                      mechanisms explained above.

        165. A class action is superior to ma
                                                    intenance of these claims on a clai
                                                                                                 m-by-claim
 basis when all actions arise out of the
                                           same circumstances and course of con
                                                                                          duct. A class action
allows the Court to process all rightful
                                            claims in one proceeding. Class litig
                                                                                      ation is manageable
considering the opportunity to afford
                                      reas     onable notice of significant phases of
                                                                                              the litigation to
Class Members and permit distribution
                                             of any recovery. The prosecution of
                                                                                          separate actions by
individual Class Members, or the
                                      individual joinder of all Class Memb
                                                                           ers in              this action, is



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  impracticable and would create a mas
                                          sive and unnecessary burden on the reso
                                                                                      urces of the Courts
  and could result in inconsistent adju
                                          dications, while a single class action
                                                                                   can determine, with
  judicial economy, the rights of each mem
                                              ber of the class or subclasses, should that
                                                                                            be determined
  to be appropriate.

                  The conduct of this action as a class
                                                          action conserves the resources of the
                                                                                                    parties •
  and the court system, protects the righ
                                           ts of each member of the class, and mee
                                                                                       ts all due process
  requirements.

                  Certification of the Class with respect
                                                             to particular common factual and lega
                                                                                                        l
  issues concerning liability and com
                                          parative fault, as well as the necessa
                                                                                   ry and appropriate
 quantum of punitive damages, or ratio
                                            of punitive damages to actual harm, is
                                                                                      appropriate under
 Tennessee Rule of Civil Procedure 23.0
                                            3(4).

                  The particular common issues of liab
                                                          ility, comparative fault, and the quantum
                                                                                                       of
 punitive damages or ratio of punitive
                                         damages to actual harm, are common
                                                                                 to all Class Members
 no matter what type of harm or injury
                                         was suffered by each Class Member.

                  A class action may be maintained und
                                                             er Tennessee Rule of Civil Procedure
 23.02(2) because Defendants have acte
                                            d or refused to act on grounds that app
                                                                                    ly generally to the
 Class, thereby making appropriate the
                                            entry of equitable and/or injunctive
                                                                                   relief,. including a
 medical monitoring protocol and trea
                                         tment programs, and injunctive relief
                                                                                 to prevent recurrence
 of the conduct in the future.

                  As a result of Defendants' negligent
                                                         conduct, the Rule 23.02(2) Class Me
                                                                                            mbers
 are at increased risk of NAS and develop
                                             mental issues. Early detection of neonata
                                                                                         l exposure and
 developmental issues through examin
                                             ation and testing, with treatment as
                                                                                        necessary, has
 significant value for Rule 23.02(2)
                                         Class Members because such detectio
                                                                                      n will help Class



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  Members monitor, minimize and treat the
                                                 harm therefrom. Due to neonatal opioid expo
                                                                                            sure by
  the Rule 23.02(2) Class Members, surveilla
                                                   nce, surveillance in the form of periodic
                                                                                                 medical
  examinations and treatment is reasonable
                                               and necessary, because such surveillance
                                                                                          will provide
  early detection, diagnosis and treatment
                                               of NAS and its effects. As a remedy for
                                                                                         the negligent
  and unconscionable conduct alleged in this
                                                 Complaint, Defendants should be required
                                                                                                to fund a
  medical monitoring and treatment program
                                                 designed to identify and combat NAS and
                                                                                                its effects
  on the Class and provide desperately need
                                                  ed neonatal care and treatment program
                                                                                               s as NAS
  affected children develop.

                 The particular common issues of liability
                                                              , comparative fault, and the quantum of
  punitive damages or ratio of punitive dam
                                               ages to actual harm, are common to all Clas
                                                                                               s Members
  no matter what type of han-n or injury was
                                               suffered by each Class Member.

                                       CAUSES OF ACTION

                                      COUNT I - NUISANCE

                 Plaintiffs reassert the allegations of the fore
                                                                 going paragraphs as if set forth fully
  herein.

                 The nuisance is the over-saturation of opio
                                                                  ids in Tennessee for non-medical
  purposes, as well as the adverse social, econ
                                                omic,    and human health outcomes associated with
  widespread illegal opioid use, including the
                                                 increasing incidence of NAS.

                 All Defendants substantially participated in
                                                                nuisance-causing activities.
                 Defendants' nuisance-causing activiti
                                                       es include selling or facilitating the
 excessive sale of prescription opioids to
                                               the patients and citizens of Tennessee, as
                                                                                               well as to
 unintended users, including newborns and
                                               children, people at risk of overdose, and crim
                                                                                                inals.
                Defendants' nuisance-causing activitie
                                                       s also include failing to implement



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  effective controls and procedures in thei
                                                r supply chains to guard against theft,
                                                                                            diversion and
  misuse of controlled substances, and thei
                                                r failure to adequately design and ope
                                                                                        rate a system to
  detect, halt and report suspicious orders
                                              of controlled substances.

           177. Defendants' activities unreasonably
                                                         interfere with the rights of Plaintiffs and
                                                                                                       the
  Class.

         178. The Defendants' interference
                                           with these rights of Plaintiffs and the
                                                                                   Class is •
  unreasonable because it:

                          Has harmed and will continue to harm
                                                                       the children and public health
 services of Tennessee;

                          Is proscribed by statutes and regulat
                                                                     ion, including the CSA and the
 consumer protection statute;

                         Is of a continuing nature and it has prod
                                                                    uced long-lasting effects; and
                         Defendants have reason to know thei
                                                                     r conduct has a significant effect
 upon Plaintiff and the Class.

           179. The nuisance undermines public
                                                    health, quality of life, and safety. It has
                                                                                                  resulted
  in high rates of addiction, overdoses,
                                               dysfunction, and despair within fam
                                                                                        ilies and entire
  communities.

           180. The resources of the communities
                                                 of      the Plaintiffs and the Class are insuffic
                                                                                                   ient to
  deal with needs created by the Opioid Cris
                                                is, and these limited resources are being
                                                                                            unreasonably
  consumed in efforts to address the Cris
                                          is, including efforts to address the overwh
                                                                                         elming number
  of children born with NAS.

       181. Defendants' nuisance-causing
                                               activities are not outweighed by the
                                                                                        utility of
  Defendants' behavior. In fact, their beh
                                           avior is illegal and has no social utility
                                                                                      whatsoever.



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   There is no legitimately recogn
                                         ized societal interest in failin
                                                                          g to   identify, halt, and report
   suspicious opioid transaction
                                      s. There is no legitimate soc
                                                                            ietal interest in Manufacturer
   Defendants dissemination of fals
                                        e "scientific" facts and advice.

                 At all times, all Defendants pos
                                                     sessed the right and ability to con
                                                                                          trol the nuisance-
  causing outflow of opioids fro
                                      m pharmacy locations or other
                                                                            points of sale. Pharmaceutical
  Defendants flooded the distrib
                                 ution channels and the geogra
                                                               phi             c and demographic area of
  Tennessee with opioid pills. Dis
                                        tributor Defendants had the pow
                                                                               er to shut off the supply of
  illicit opioids to patients and con
                                       sumers of Tennessee, yet did the
                                                                              opposite by flooding the U.S.
  (including Tennessee) with opi
                                  oid pills.

                As a direct and proximate result
                                                     of the nuisance, the communiti
                                                                                        es of Plaintiffs and
  the Class have born a great bur
                                     den trying to remedy the harms
                                                                          caused by Defendants' nuisance-
  causing activity, including, but
                                     not limited to, costs of hospital
                                                                          services, counseling, healthcare
                                                                                                               ,
  and child services.

                Plaintiffs and the Class also hav
                                                     e suffered unique harms different
                                                                                           from the public
 at large, namely, that they person
                                     ally suffer NAS.

                The effects of the nuisance can
                                                    be abated, and the further occurr
                                                                                        ence of such harm
 can be prevented. All Defendan
                                     ts share in the responsibility for
                                                                          doing so.
                Defendants should be required
                                                     to pay the expenses Plaintiffs
                                                                                        and the Class and
 their communities have incurred
                                      or will incur in the future to full
                                                                           y abate the nuisance.
                        COUNT II- NEGLIGENCE
                                             AND GR                 OSS NEGLIGENCE
               Plaintiffs reassert the allegation
                                                    s of the foregoing paragraphs
                                                                                       as if set forth fully
herein.

               Defendants owe a non-delegabl
                                                    e duty to Plaintiffs and the Cla
                                                                                       ss to conform their



                                                    53
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  behavior to the legal standard of
                                      reasonable conduct under the circ
                                                                             umstances, in the light of the
  apparent risks.

                    There is no social value to Defend
                                                          ants' challenged behavior. In fact,
                                                                                                Defendants'
  entire conduct, behavior, actions,
                                     mis  representations, conspiracies, and
                                                                                  omissions are against the
  law.

                    On the other hand, there is imm
                                                        ense social value to the interests
                                                                                              threatened by •
  Defendants' behavior, namely the
                                   hea    lth, safety, and welfare of Plaintiffs
                                                                                   and the Class.
                    Defendants' behavior caused a sub
                                                          stantial injury and damage to Pla
                                                                                            intiffs and the
  Class.

                 Defendants' conduct fell below the
                                                          reasonable standard of care and was
                                                                                                 negligent.
  Their negligent acts include:

                 a.       Consciously supplying the marke
                                                                 t in the Tennessee with highly-ad
                                                                                                  dictive
                 prescription opioids, including mis
                                                          representing, understating, or obf
                                                                                              uscating the
                 highly addictive propensities of opi
                                                          oid pills;

                          Using unsafe marketing, labeling,
                                                                   distribution, and dispensing practic
                                                                                                         es,
                 including failing to warn or adv
                                                     ise physicians to conduct an add
                                                                                            iction family
                history of each and every potential
                                                        patient;

                          Affirmatively enhancing the risk
                                                                   of harm from prescription opioid
                                                                                                   s by
                failing to act as a last line of defens
                                                        e against diversion;

                          Failing to properly train or investi
                                                              gate their employees;

                          Failing to properly review and ana
                                                                 lyze prescription orders and data
                                                                                                     for red
                flags;

                          Failing to report suspicious orders
                                                                 or refuse to fill them;



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                    g.     Failing to provide effective controls
                                                                    and procedures to detect and/or
                                                                                            .       guard
                    against theft and diversion of control
                                                             led substances;
                    h.     Failing to police the integrity of thei
                                                                   r supply chains; and
                    i.     Creating misleading information wit
                                                                     h the intention of having prescribin
                                                                                                             g
                    physicians rely upon it.

         193. Each Defendant had an ability
                                            to            control the opioids at a time when
                                                                                                  it knew or
 should have known it was passing
                                         control of the opioids to an actor furt
                                                                                    her down in the supply
 chain that was incompetent or acting
                                           illegally and should not be entrusted
                                                                                     with the opioids.
                  • Each Defendant sold prescription
                                                          opioids in the supply chain knowin
                                                                                                  g (a) there
 was a substantial likelihood many of
                                          the sales were for non-medical purpos
                                                                                      es and, (b) opioids are
 an inherently dangerous product whe
                                          n used for non-medical purposes, and
                                                                                      (c) that every patient,
 before being prescribed even one
                                          opioid pill, needed to have a com
                                                                                    plete family history of
 addiction to alcohol and drugs, with
                                         any such history as a contraindicatio
                                                                                   n of any opioid use.
                   Defendants were negligent or rec
                                                           kless in not acquiring and utilizin
                                                                                       g special
 knowledge and special skills tha
                                       t relate to the dangerous activity
                                                                          in order to prevent or
 ameliorate such distinctive and sign
                                      ificant dangers.

              •    Controlled substances are dangerous
                                                              commodities. Defendants breached
                                                                                                         their
 duty to exercise the degree of care,
                                         prudence, watchfulness, and vigilan
                                                                                   ce commensurate to the
dangers involved in the transaction
                                        of their business.

                   Defendants were also negligent or
                                                          reckless in failing to guard against
                                                                                                 foreseeable
third-party misconduct, e.g., the foreseea
                                           ble conduct of: corrupt         prescribers, corrupt .pharmacists
and staff, and/or criminals who buy
                                        and sell opioids for non-medical pur
                                                                                  poses.
                   Defendants are in a limited class of
                                                             registrants authorized to legally dist
                                                                                                     ribute



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  controlled substances. This places
                                       Defendants in a position of great trus
                                                                                t and responsibility vis-
 a-vis Plaintiffs and the Class. Def
                                       endants owe a special duty to Plainti
                                                                                 ffs and the Class. That •
 duty cannot be delegated to another
                                         party.

                 Plaintiffs and the Class are withou
                                                         t fault, and the injuries to Plaintiffs
                                                                                                   and the
 Class would not have happened in
                                       the ordinary course of events if the
                                                                              Defendants used due care
 commensurate to the dangers inv
                                 olved in the distribution and dis
                                                                   pensing of controlled
 substances.

                The aforementioned conduct of
                                                       Defendants proximately caused
                                                                                            damage to
 Plaintiffs and the Class.

                                  COUNT III — NEGLIGENCE PER
                                                                           SE
                Plaintiffs reassert the allegations in
                                                         the foregoing paragraphs as if full
                                                                                               y set out
 herein.

                Defendants had a duty to exercise reas
                                                          onable care, and comply with existing
                                                                                                     laws
 (including but not limited to the Con
                                       trolled Substances Act ("CSA"), 21
                                                                               U.S.C. § 801 et seq. and
 its implementing regulations), in
                                       the design, research, manufacture
                                                                               , marketing, supply,
 promotion, packaging, sale, testing,
                                      and/or distribution of their opioid pro
                                                                              ducts into the stream of
 commerce.

                Defendants failed to exercise ordina
                                                         ry care and failed to comply with
                                                                                               existing
 laws in the design, research, manufac
                                         ture, marketing, supply, promotion,
                                                                               packaging, sale, testing,
quality assurance, quality control
                                     , and/or distribution of their opioid
                                                                               products into interstate
commerce in that Defendants kne
                                         w or should have known that usi
                                                                               ng opioids created an
unreasonable risk of dangerous add
                                     iction and NAS, as well as other sev
                                                                              ere and personal injuries
which are permanent and lasting
                                       in nature, physical pain and menta
                                                                                 l anguish, including



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 diminished enjoyment of life, as wel
                                      l as     the need for lifelong medical treatme
                                                                                        nt, monitoring
 and/or medication.

                The laws violated by Defendants as
                                                         described above were designed to
                                                                                                protect
 Plaintiff and similarly situated person
                                            s and to protect against the risks and
                                                                                     hazards that have
 actualized in this case. Therefore, Def
                                        endants' conduct constitutes negligence
                                                                                   per se,
                              COUNT IV - CIVIL CONSPIRAC
                                                                      Y
                Plaintiffs reassert the allegations in
                                                         the foregoing paragraphs as if fully
                                                                                                set out
 herein.

                The Pharmaceutical Defendants con
                                                 tinuously supplied prescription opio
                                                                                     ids to        the
 Distributor Defendants despite having
                                            actual or constructive knowledge that
                                                                                     said Distributors
 were habitually breaching their com
                                    mon law duties and violating the CSA
                                                                                     . The Distributor
 Defendants continuously supplied pre
                                      scri    ption opioids to pharmacies despite
                                                                                      having actual or
 constructive knowledge that said pha
                                      rmacies were habitually breaching thei
                                                                                r common law duties
 and violating the CSA.

               Without the Distributor Defendants
                                                       ' supply of prescription opioids, pha
                                                                                              rmacies
 would not be able to fill and dispens
                                      e the increasing number of prescription
                                                                                  opioids throughout
 Tennessee.

               No Defendant in this opioid netwo
                                                         rk would have succeeded in profitin
                                                                                   .         g so
 significantly from the opioid epidemi
                                           c without the concerted conduct of
                                                                                the other party, and
 none would have succeeded so signific
                                           antly without engaging in the wrongf
                                                                                ul conduct as herein
 alleged.

               The Pharmaceutical Defendants
                                             likewise benefitted from this dist
                                                                                ribution
 conspiracy in that the more pervasive
                                           opioid diversion became, the more
                                                                                  the Pharmaceutical



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  Defendants profited. Despite acc
                                  ess to the same information in the
                                                                                hands of the Distributor
  Defendants, the Pharmaceutical Def
                                          endants ignored the warning signs
                                                                            of opi   oid diversion.
                   As a result of the concerted action
                                                             s between and among the Defen
                                                                                                dants, the
  Plaintiff and the class have suffered
                                          damages.

               Plaintiffs and the Class demand
                                               judgment against each Defen
                                                                           dant for
  compensatory damages.

                          COUNT V — INJUNCTIVE AN
                                                 D EQUITABLE RELIEF OF
                       MEDICAL MONITORING AND
                                                               CONTINUING TREATMENT
                   Plaintiffs reassert the allegations
                                                          in the foregoing paragraphs as if
                                                                                              fully set out
  herein.

                   By definition, Baby Z.B.D, Bab
                                                          y L.D.L. and Baby A.C.H.were
                                                                                              exposed to
  opioids, a known toxic substance,
                                          at a concentration higher than exp
                                                                                   ected for the general
 population and suffer the physical
                                       injury of NAS.

            214. To obtain medical monitoring
                                                  damage under Tennessee law, "it
                                                                                         is sufficient for
 the plaintiff to show by expert me
                                        dical testimony that the plaintiffs
                                                                               have an increased risk of
 disease, which would warrant a rea
                                          sonable physician to order monito
                                                                                ring." Bandy v. Trigen-
 Biopower, Inc., No. 3:02-CV-459, 200
                                           6 WL 5321815, at 5 (E.D. Tenn. Ma
                                                                                   y 5,2006) (citing Day
 v. NLO, 851 F. Supp. 869, 881 (S.D
                                        . Ohio 1994).

            215.   Plaintiffs and those similarly situated
                                                             face a lifetime of latent, dread me
                                                                                                dical and
 emotional conditions proven to be
                                        linked to in utero exposure opioid
                                                                             s including but not limited
 to: brain damage, muscular-skeleta
                                         l developmental disorders, speech
                                                                                and language disorders,
 cognitive developmental disorde
                                 rs, psy      chiatric disorders, emotional dev
                                                                                    elopment disorders,
 behavioral disorders and increased
                                       risk of addiction.



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                 • Plaintiffs and those similarly situated
                                                                  will benefit from medical monitoring
                                                                                                                 for
  the aforementioned medical and emotion
                                                   al conditions because testing and continu
                                                                                                    ed monitoring
  will bring to light the onset of these med
                                                     ical and emotional conditions so that
                                                                                                   treatment and
  intervention may begin at the earliest poin
                                                    t possible.

                 • Plaintiffs and those similarly situated
                                                                   will benefit from a medical monitoring
  program featuring an epidemiological
                                                component that collects and analyzes med
                                                                                                  ical monitoring
  results6 so that other heretofore unrecog
                                                  nized latent, dread diseases that may be
                                                                                                  associated with
  in utero exposure may be identified so
                                                 that treating professionals may better
                                                                                               care for the Class
  Members and so that medical professi
                                                 onals engaged in the research and dev
                                                                                               elopment of new
  treatment will have access to a broader
                                                universe of data.

                   Further, Plaintiffs and those similarly
                                                                  situated will require on-going care for
                                                                                                                the
  aforementioned conditions which are kno
                                                   wn to result from in utero exposure to opio
                                                                                                     ids including
  but not limitesd to medical care, psychiat
                                                  ric care, psychological care, physical ther
                                                                                                   apy, cognitive
  therapy and speech therapy.

                   The harm visited upon Plaintiffs and thos
                                                                    e similarly situated is irreparable.

                   Money damages will not suffice bec
                                                                  ause it is impossible to predict with
                                                                                                               any
  certainty the costs of such monitoring
                                                and treatment for each individual clas
                                                                                              s member nor is it
  possible to predict new treatment and
                                               intervention protocol that may be develop
                                                                                                 ed as data from
  medical monitoring of the Class is prov
                                                ided to the medical research community.

                   Further, money damages will not suffice
                                                                    because an award of money damages for
  future monitoring and treatment would
                                                not result in comprehensive programs whe
                                                                                                  reby important
 information is shared among the med
                                                  ical community so that new treatme
                                                                                                 nts, protocols,


           6 Such epidemiological data will
                                            be collected, maintained and analyzed
  identity of individual class members.                                           in such a manner as to protect the


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  intervention and test may be developed.

                   Plaintiffs, on behalf of all those similarly situa
                                                                      ted, seek a Court administered fund
  replenished from time-to-time by the Defe
                                                 ndants to achieve such injunctive and equi
                                                                                              table relief
  as necessary for the continuing benefit of the
                                                   class.

                   Plaintiffs and the Class also seek injuncti
                                                                   ve Relief, including enjoining the
  Defendants and all other persons acting in
                                                 concert or participation with them from enga
                                                                                                 ging in
  unfair or deceptive practices in violatio
                                             n of law as described herein, and by tem
                                                                                          porary,
  preliminary or permanent injunction force the
                                                Defendants and all other persons acting in conc
                                                                                                ert
  or participation with them to abide by the
                                              Controlled Substances Act, provide the requ
                                                                                              ired
  control measures, and prevent unauthorized
                                             users from obtaining opioids.

           224. Given the immense wealth of the Defe
                                                            ndants, such injunctive and equitable relie
                                                                                                        f
 presents no undue burden or irreparable dam
                                                  age to the Defendants.

      COUNT VI- PRODUCTS LIABILITY UND
                                       ER THE TENNESSEE PRODUCTS
             LIABILITY ACT TENN. CODE ANN.
                                            29-28-101 ET SEQ.
                   Plaintiffs reassert the allegations in the fore
                                                                    going paragraphs as if fully set out
 herein.

                   The manufacturer or seller of a product is liabl
               •
                                                                     e for injuries caused by the product
 if it is in a defective condition or unreason
                                                ably dangerous at the time it leaves the cont
                                                                                               rol of the
 manufacturer or seller. Tenn. Code Ann. § 29-2
                                                     8-105.

                   At all times material to this action, Defendan
                                                                      ts were engaged in the business of
 the design, development, manufacture, testi
                                                  ng, packaging, promotion, marketing,. distr
                                                                                                 ibution,
 labeling, and/or sale of opioid products.

                   At all times material to this action, Defendan
                                                                   ts' opioid products were expected to
 reach, and did reach, consumers in the Stat
                                                   e of Tennessee and throughout the United
                                                                                                 States,

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      including Plaintiffs herein, without substant
                                                       ial change in the condition in which they
                                                                                                    were sold.
                      Defendants knew that the damage causing
                                                                      characteristics of Defendants' product
      include its addictive properties on pote
                                                     ntial mothers and its in utero impacts
                                                                                              on their future
      children.

                     Defendants knew that prolonged use of
                                                                   opioids leads to decreased effectiveness,
      requiring increases in doses to achieve the
                                                      same level of pain relief, markedly increasi
                                                                                                     ng the risk
      of significant side effects and addiction.
                                                   Defendants conducted studies documentin
                                                                                                   g these risks,
      yet failed to publish the results or warn of
                                                     the documented risks.

                     The risks of opioid addiction and the
                                                                   risk to children in utero are grave and
      Defendants had a duty to warn about thes
                                                   e risks.

                     Providing such warnings would have
                                                                    been easily feasible, but would have
      interfered with Defendants' marketing
                                                efforts. Instead, Defendants' engaged in
                                                                                              a multimillion
      dollar marketing and advertising effo
                                                   rt promoting falsehoods and minimizing
                                                                                                     the risk of
      addiction and withdrawal from long term
                                                   opioid use.

                     Defendants knew that Opioids are too add
                                                                     ictive and to debilitating for long-term
      use for chronic pain, barring exceptional
                                                   circumstances. Defendants knew that the
                                                                                           only        safe uses
      for their product were end of life care, shor
                                                      t term pain relief after surgery, and pain
                                                                                                   relief related
      to cancer. Defendants failed to warn Ten
                                                      nessee physicians, potential mothers and
                                                                                                      pregnant
      women of the dangers of using their prod
                                                   uct outside of these areas.

                     Defendants' products were unreasonab
                                                            ly dangerous at the time they left the
                                                                                                   .
      control of Defendants because of inadequa
                                                te warning.

                     Because of Defendants' knowledge of
                                                                   the risks to mothers and their neonata
                                                                                                                 l
      children, and their extensive efforts to obsc
                                                      ure these risks, Defendants are liable for
                                                                                                   all resulting



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     damages caused to Plaintiffs and the Class.

                     The opioid product manufactured and/or supp
                                                                        lied by Defendants were defective
     in design in that an alternative design exists
                                                      that would prevent addiction, NAS and seve
                                                                                                     re and
     permanent injury to pregnant women and their
                                                         unborn children.

                     A reasonably prudent manufacturer or selle
                                                                        r would not have put Defendants'
     products on the market had it known of the
                                                         products' dangerous condition and/or defe
                                                                                                       ctive
     design.

                     Defendants designed their product in such a
                                                                      way that it could easily be abused by
     crushing of pills with the resulting powder inge
                                                         sted by inhalation or injection.

                     Defendants were aware that their products were
                                                                            being abused in this manner on a
     large scale, making this a reasonably anticipate
                                                         d use.

                     Despite this knowledge, Defendants only
                                                                      recently altered the design of their
     product to be "enteric," that is, changed
                                               it to a form that prevented such Crushin
                                                                                        g and
     consumption. This change was only made after
                                                         years of public and legal pressure.

                     Further, Defendants promoted their unreason
                                                                        ably dangerous design by actively
     undercutting the prescription of alternative
                                                      nonsteroidal anti-inflammatory drugs, push
                                                                                                     ing the
     misinformation that such non-opioid drugs were
                                                          not effective for the treatment of long term pain
                                                                                                           .
                     Therefore Defendants are liable for the dam
                                                                      ages caused to the Plaintiffs and the
     Class by their opioid products' unreasonably
                                                         dangerous and defective design and inadequa
                                                                                                          te
     warnings of their opioids' addictive propertie
                                                    s.

                             COUNT VII— STRICT PRODUCTS LIABIL
                                                                                  ITY
                     Plaintiffs reassert each and every allegation
                                                                      set forth in all preceding paragraphs
     as if fully restated herein.




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                 Defendants are strictly liable for the damages
                                                                         to Plaintiffs and the Class caused by
 the defective design and inadequate warnings
                                                       detailed above.

                                COUNT III - PUNITIVE DAMAGES

                 Plaintiffs reassert each and every allegation
                                                                     set forth in all preceding paragraphs
 as if fully restated herein.

                 The conduct of Defendants as set forth here
                                                                    in was malicious, oppressive, willful,
 wanton, reckless, and/or criminally indiffere
                                                   nt to civil obligations affecting the rights of
                                                                                                      others,
 including Plaintiffs. Plaintiffs and the Class
                                                  are thus entitled to recover punitive damages
                                                                                                      against
 Defendants.

                 Defendants were malicious, oppressive,
                                                        willful, wanton, reckless, and/or
 criminally indifferent to civil obligations
                                                 affecting the rights of others, including Plai
                                                                                                    ntiffs, in
 their activities and in failing to warn Plaintiff
                                                   s of dangers well known to Defendants, whic
                                                                                                       h acts
 exhibited a deliberate disregard for the righ
                                                ts and safety of Plaintiffs.

                 Defendants realized the imminence of dang
                                                                    er to Plaintiffs and other members of
 the public, but continued with deliberate disre
                                                     gard and complete indifference and lack of
                                                                                                     concern
 for the probable consequences of their acts.

                 As a direct result of Defendants' deliberate
                                                                    disregard for the rights and safety of
 others, gross negligence, malicious, oppress
                                                       ive, willful, wanton, reckless, and/or crim
                                                                                                  inally
 indifferent to civil obligations affecting
                                                 the rights of others, including Plaintiffs,
                                                                                                   Plaintiffs
 suffered the injuries and dangers stated abov
                                                  e.

                 Defendants' acts as described herein exhibited
                                                                          deliberate disregard for the rights
 and safety of others and were malicious, oppr
                                                     essive, willful, wanton, reckless, and/or crim
                                                                                                       inally
 indifferent to civil obligations affecting the
                                                   rights of others, including Plaintiffs. An awa
                                                                                                        rd of



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 punitive and exemplary damages is therefor
                                               e necessary to punish Defendants, and each
                                                                                                   of them,
 and to deter any reoccurrence of this into
                                            lerable conduct. Consequently, Plaintiffs
                                                                                           are entitled to
 an award of punitive damages.

         251. The conduct of Defendants as set forth
                                                           herein was malicious, oppressive, willful,
 wanton, reckless, and/or criminally indiffere
                                                   nt to civil obligations affecting the rights
                                                                                                  of others,
 including Plaintiffs. Plaintiffs and the Clas
                                              s are   thus entitled to recover punitive damages
                                                                                                    against
 Defendants in an amount sufficient to pun
                                              ish Defendants for their wrongful conduct
                                                                                             and to deter
 Defendants and others from similar wrongfu
                                               l conduct in the future.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs and Putative Clas
                                                s Representatives            Roxie Whitley, as the next
 friend of Baby Z.B.D., Chris and Diane Den
                                                   son, as the next friends of Baby L.D.L. and
                                                                                                     James
 and Ted Holland as next of friends of Bab
                                                   y A.C.H., individually and on behalf of
                                                                                                  all other
 similarly situated, request that the Court gran
                                                t the following relief:

                Injunctive and Equitable Relief of Me
                                                      dical Monitoring and Continuing
 Treatment;

                Injunctive Relief, including enjoining the
                                                               Defendants and all other persons acting
                in concert or participation with them from
                                                                    engaging in unfair or deceptive
                practices in violation of law as described here
                                                                  in, and by temporary, preliminary or
                permanent injunction force the Defendants
                                                                and all other persons acting in concert

                or participation with them to abide by the
                                                               Controlled Substances Act, provide the
                required control measures, and prevent
                                                                 unauthorized users from obtaining

                opioids;

                Compensatory damages;




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                    • Restitution;

                      Punitive damages;

               f.     Attorneys' fees and costs;

                      Pre and Post Judgment Interest;

                      All such other relief this Court deems just and fair; and

                      Plaintiff seeks a trial by jury for all counts so triable.


         Date: 03/28/2018                              Respectfully submitted by:

                                                          S\ C'
                                                       MeLisa J. Williams      4200
                                                       Mike Whitaker, BPR
                                                       Attorneys At Law
                                                       16980 Hwy 64, Suite A
                                                       P.O. Box 515
                                                       Somerville, TN 38068
                                                       901-465-2622 (phone)
                                                       901-813-8336 (fax)
                                                       Email: mjw@mjwilliamslaw.com

                                                       /s/ Jack Harang
                                                       Jack W. Harang, Esq. (pro hac vice pending)
                                                       Attorney at Law
                                                       2433Taffy Dr.
                                                       Kenner, LA 70065
                                                       Email: jwharang@gmail.com

                                                       /s/ Celeste Brustowicz
                                                       Celeste Brustowicz (pro hac vice pending)
                                                       Barry J. Cooper, Jr. (pro hac vice pending)
                                                       Stephen H. Wussow (pro hac vice pending)
                                                       Victor Cobb (pro hac vice pending)
                                                       Cooper Law Firm, LLC
                                                       1525 Religious Street
                                                       New Orleans, LA 70130
                                                       Telephone: 504-399-0009
                                                       Email: cbrustowicz@sch-11c.com
                                                       bcooper@sch-11c.com
                                                       swussow@sch-11c.com
                                                       vcobb@sch-11c.com


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